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                               EXHIBITC
                              OPENWORKS

                         JANITORIAL FRANCHISE
                              AGREEMENT




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                                    OPENWORKS FRANCHISE AGREEMENT

       1.       PARTIES

              This Agreement is signed on        SEPTEMBER 12                       20.!§ ("Eff'eetive Date") by
       and between O.P.E.N. America, Inc., an Arizona corporation doing business as OpenWorks
       {"OpenWorks''}, with its principal office located at 4742 North 24th Street, Suite 450, Phoenix, Arizona
       85016,and
                           RUTH MARK
       hereinafter referred to singularly or collectively as "Yoa" or "Franchisee," a:

       [    ] Corporation,       [    ] Limited Liability Company, under the laws of the State of
            COLORADO                     . If you are an individual, you agree to Transfer all of your rights and
       obligations under this Agreement to a legal entity of which you beneficially own I 00% of the equity
       within 90 days after the Effective Date (the "Required Transfer"), If you fail to complete the Required
       Transfer within 90 days of the Effective Date, you agree to pay OpenWarks a fee of $500 per month until
       such Required Transfer is complete as required by Section 6.21.

       Address. T@lephoge, Social Security# and/or Fede[al Tu LD.:

                 The infonnation below is to be completed for you. if you are an individual, or for each individual
       partner of the partnership, or for each shareholder of the corporation, or for each member of the limited
       liability company, as indicated above. You are required to maintain an active telephone number and e-
       mail address and to notify OpenWorks of any changes. The Franchisee represents that the following
       information is true and complete:

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        RUTH MARK               2360 S. QUEBEC ST, APT 205                                        303-667-159!
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       Federal Tax LD. if a partnenhiPt corporation or limited liability company:
       Designated Manager Name: _ _ _ _ _ _ _ _ _ _ _ _.

                                                     FRANCHISE SUMMARY
      Franchise Package: OW• -3                                                        Down Payment: S 5,000.00
      Territory:                                                                       Amount Financed: S:1,0,~gg,gdlnterest 12%)
      Initial Monthly Account Volume: $3,ooo.oo                                        Terms (months): 24
      FulfiUmeat Period (Days): 120                                                    Monthly lnstalhnents: S 480.14
      Date Franchisee received UFDD (should be same date as on Receipt page): 08/18/2016
      Date ofFrancllisee rmt penonal meeting with OpenWorks rep to discuss
      purchase offnnchise: 08/lB/lOlG
      Date Franchisee received complete executable copy of Fnnchlse Agreement: 08/18/2016
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     Date Franchisee signed this Agreement: 09; 12 /20l6
     Date Franchisee delivered any down payment, deposit or other payment: 09; 12; 201 6


     2.        RECITALS

              2.1      Ownership of System. Open Works is the owner of certain intellectual property rights,
     including its Trade Names and the Marks, the distinctiveness and value of which you acknowledge.
     Openworks has spent a considerable amount of time, effort and money to devise, and continues to
     develop, business methods, technical knowledge and marketing concepts including, but not limited to,
     trade secrets, commercial ideas, advertising materials, marketing strategies, information on sources of
     supply, administrative procedures, business forms, and employee training techniques that, taken together,
     comprise a proprietary System for the operation of Janitorial Services that offer commercial janitorial and
     other facility services to Accounts pursuant to Maintenance Agreements, all of which are designed to
     enhance the reputation and goodwill with the public of the services offered pursuant to the System.
     OpenWorks may, from time to time, add to, amend, modify, delete or enhance any portion of the System
     (including any of the Trade Names and Marks) as may be necessary in Open Works' Reasonable Business
     Judgment (as defined below) to change, maintain or enhance the System, TradeNames, Marks or
     reputation, efficiency, competitiveness and/or quality of the System, or to adapt it to new conditions,
     materials or technology, or to better serve the public. You will fully comply, at your own expense, with
     all such additions or modifications reasonably designated as applicable to then existing franchise owners
     similarly situated.

             2.2      Definition of Reasonable Business Judgment. Open Works agrees to use "Reasonable
      Business Judgment" in the exercise of its rights, obligations and discretion under this Agreement except
     where otherwise indicated in this Agreement. "Reasonable Business Judgment" means that Open Works'
      determination shall prevail even in cases where other alternatives are also reasonable so long as
     Open Works is intending to benefit or is acting in a way that could benefit the System by enhancing the
     value of the Marks, increasing customer satisfaction, or minimizing possible customer brand or location
     confusion. OpenWorks shall not be required to consider your particular economic or other circumstances
     when exercising its Reasonable Business Judgment. At no time are you or any third party (including, but
     not limited to any third party acting as a trier of fact) entitled to substitute your or its judgment for a
     judgment that has been made by or on behalf of OpenWorks and that meets the definition of Reasonable
     Business Judgment in recognition of the fact that the long-term goals of a franchised system, and the
     long-term interests of both OpenWorks and all franchise owners, taken together, require that Openworks
     have the latitude to exercise Reasonable Business Judgment.

              2.3     Nature of OpenWorks' Business. OpenWorks is in the business of franchising other
     parties to operate businesses using OpenWorks' Trade Names, Marks and System.

            2.4     Objectives of Parties. Open Works wishes to grant you and you wish to accept from
     Open Works a franchise to engage in the Janitorial Services described in this Agreement, using the Trade
     Names, Marks and System, upon the tenns and conditions set forth in this Agreement.

     3.       DEFINITIONS. For purposes of this Agreement, when any of the following terms begin with
     capital letters, their meanings are as defined in this Article 3 or elsewhere in this Agreement where the
     term appears in bold type and quotation marks:

           3.1      "Account" means a customer who has entered into a Maintenance Agreement with
     Open Works for the performance of janitorial and/or other facility services at the customer's premises.


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             3.2    "Account Volume" means the gross dollar volume per month that should be generated
     by the Accounts assigned to you by Open Works.

               3.3     "Additional Accounts" has the meaning ascribed to it in Section 5.2.2.

             3.4     "Additional Account Volume" means the gross dollar volume per month that should be
     generated by the Additional Accounts that you purchased the rights to service from Open Works.

              3.5      "Affiliate" means people and companies associated with OpenWorks or you, as the
     context indicates, including, but not limited to, spouses, members of your household, owners, general
     partners, limited partners owning a Substantial Interest in Openworks or you, shareholders owning a
     Substantial Interest in Open Works or you, corporations in which Openworks or you have a Substantial
     Interest, corporations in which any person or entity owning a Substantial Interest in you also has a
     Substantial Interest, or officers, directors, employees or agents of OpenWorks or you. As used in this
     paragraph, the phrase "Substantial Interest" means the right to 10% or more of the capital or earnings of
     a partnership or limited liability company, or alternatively, ownership of 10% or more of the voting stock
     of a corporation.

               3.6     "Agreement" means this Franchise Agreement, together with its attachments and all
     amendments hereto.

              3.7    "Confidential Information" means proprietary and/or confidential information and trade
     secrets of Openworks and the System, including without limitation training materials, programs,
     methods, techniques, specifications, standards, systems, procedures, sales and marketing programs and
     strategies, manuals, financial data, knowledge of specifications for and suppliers of equipment, supplies
     and services, bidding, pricing and billing methods, existing and prospective customer lists and
     information about them and their service contracts, at any time existing or under consideration, for the
     operation of OpenWorks regional offices and commercial janitorial and other facility service businesses.

             3.8    "Designated Manager" means the specific individual who will be responsible for the
     day-to-day management of the Janitorial Services.

              3.9      "Effective Date" means the date of the Agreement as set forth in Article l.

              3.10     "Fluent in English" has the meaning ascribed to it in Section 7.2.12.

             3.11     "Franchise Network" means the interdependent network composed of Open Works, all
     Open Works franchisees, OpenWorks' Affiliates, and any other people or business entities that it has
     licensed to use the Trade Names, Marks, System or any of them.

             3.12     "Franchise Package" means one of four different programs offered by Open Works, each
     generating a different amount of Initial Account Volume.

              3.13    "Good Standing" means timely compliance by you and your Affiliates with all
     provisions of this Agreement, the Manual and any other agreement with Open Works, specifically
     including, but not limited to, provisions for timely payment of amounts owed by you to OpenWorks or its
     Affiliates and for any Account's satisfaction with your Janitorial Service.

              3.14   "Gross Revenue" means the total amount of money received by Openworks and its
     Affiliates or you or your Affiliates from Accounts for all services rendered by you or your Affiliates
     within an accounting period.


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              3.15    "Janitorial Service" means the business of providing commercial janitorial and other
     facility services that Openworks has authorized you to conduct under the Trade Names, Marks and
     System pursuant to this Agreement.

            3.16     "Maintenance Agreements" means written contracts between OpenWorks and
     customers for the provision of commercial janitorial and other facility services at the customer premises.

              3.17    "Manual" means the Operations :\-fanual, instructions and other correspondence that
     OpenWorks will lend or communicate to you during the term of this Agreement, covering the operation
     of the franchised business, as each may be amended and/or supplemented from time to time. The Manual
     contains forms and requirements for the establishment, promotion and operation of a Janitorial Service
     and for use of Open Works' Trade :fame and Marks.

             3.18    "Marks" means the word mark "Openworks," the design mark "OpenWorks and
     design," and other selected trademarks, service marks, trade dress, logotypes, slogans and other
     commercial symbols licensed by Open Works to you under this Agreement from time to time. A list of
     additional trademarks is included as Attachment 5 to this Agreement.

             3.19    "Franchise Disclosure Document" means the Uniform Franchise Disclosure Document
     to which this Agreement was attached and which was previously or contemporaneously provided to you.

              3.20   "OpenWorks" means O.P.E.N. America. Inc., an Arizona corporation, or any person or
     entity to which OpenWorks allocates all or part of its rights and obligations under this Agreement.

              3.21     "Purchase Contract" has the meaning set forth in Section 5.2.2.

             3.22    "System" means the Confidential Information, and the other business methods, technical
     knowledge and marketing concepts licensed by OpenWorks to you under this Agreement, including, but
     not limited to, the right to use OpenWorks' processes, purchasing arrangements, commercial ideas,
     advertising materials, information on sources of supply, administrative procedures and business forms.

             3.23     "Termination" means the expiration and non-renewal of this Agreement, the early
     termination of this Agreement under any circumstances, and the cessation of your rights to use the Trade
     Names, Marks and System.

             3.24   "Territory" means the geographic boundaries of the county as identified in Article l,
     within which you will operate your Janitorial Service.

              3.25    "Trade Names" means the commercial names "OpenWorks," "OpenWorks of [name of
     state or other geographic designation]," and other selected trade names licensed by OpenWorks to you
     under this Agreement from time to time.

              3.26    "Transfer" means any sale, gift, or other change in ownership of all or any part of the
     rights and obligations of this Agreement or of all or substantially all of the assets of the Janitorial Service
     (including without limitation, Accounts), or of an ownership interest in you (if you are a corporation or
     other legal entity) of a magnitude at least as great as that described in this Section. If you are a
     partnership or limited liability company, then one or more transactions (regardless of whether or not they
     are related) in which there is a cumulative change in the rights to 34% or more of your capital, profits, or
     distributions of profits will be considered to be a Transfer. If you are a corporation, then one or more
     transactions (regardless of whether or not they are related) in which there is a cumulative change in
     beneficial ownership of 34 % or more of your voting stock will be considered to be a Transfer.


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             3.2 7    "You" means the person or entity that is named as you in Article 1 of this Agreement and
     your Designated Manager, as the contexi requires. "You" means, in addition, all people or entities that
     succeed to the interest of the original you by Transfer or operation oflaw.

     4.        GRANT OF FRANCHISE.

               4.1     Granting Clause.

                      4.1.1 Non-exclusive Territory. Subject to all the terms and conditions set forth in this
     Agreement, Openworks grants to you and you accept from Openworks a non-exclusive franchise to
     operate the Janitorial Service described in this Agreement solely within the Territory using the Trade
     Names, Marks and System in accordance with the terms of this Agreement. Open Works reserves all
     rights in the Trade Names, Marks and System not expressly granted in this Agreement. Your right to
     operate within the Territory is not exclusive. Other franchisees may compete there as there may be
     multiple franchisees in a territory. Openworks may compete with you in your Territory, including
     through alternative methods of distribution. You may, and Open Works encourages you to, solicit new
     business within your Territory, but may not solicit business from existing OpenWorks customers or
     prospects where an active OpenWorks or other franchisee bid (within the previous six (6) months) exists.
     Open Works will not bid against you itself. You may only solicit business within your Territory and only
     from prospects with their principal place of business located within your Territory. You may not service
     prospects located outside of your Territory, even if you did not solicit the business. OpenWorks reserves
     the right to compete with you under other tradenames or trademarks and offer services that are similar or
     complimentary to those provided by your franchise.

                      4.1.2 Additional Accounts. You will not have an option to purchase additional
     franchises. However, you may request that OpenWorks provide you with additional accounts to be
     serviced under your existing franchise for a marketing fee. Such approval will be made in OpenWorks'
     sole discretion. To purchase additional accounts, you must execute an amendment to this Agreement, and
     if you finance the marketing fee, you must execute a promissory note.

               4.2     Term and Renewal.

                     4.2.1 Initial Term. The initial term of the franchise will begin on the Effective Date
     and will continue for a period often years unless terminated earlier pursuant to Article 10.

                      4.2.2 Renewal. You will have the right to renew the franchise for your Janitorial
     Service for two additional ten year tenns on the same terms and conditions as those on which Open Works
     is customarily granting new franchises at the time of renewal, if at the time of each renewal the following
     conditions are fulfilled:

              (a)      You and your Affiliates are in Good Standing under this Agreement, any other agreement
                       between Open Works or its Affiliates and you, and the ~anual;

              (b)      You have notified Open Works in \Vriting at least 180 days before the expiration date of
                       the then current agreement of your desire to renew;

              (c)      You and any Affiliates that have signed this Agreement have signed a copy of the new
                       franchise agreement not less than 30 days prior to the expiration of the then current
                       agreement or 150 days after you receive a copy of the new Franchise Agreement from
                       OpenWorks, whichever is later; and



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               (d)     You and any Affiliates that are parties to this Agreement have signed a general release of
                       claims in a form satisfactory to Openworks with respect to past dealings with
                       Open Works and its Affiliates.

              You understand that the terms of the standard franchise agreement in use by Open Works at the
     times of renewal may contain materially different terms than those contained in this Agreement,
     including, but not limited to (i) increased royalties and Advertising Fund contributions, (ii) different
     performance standards and (iii) execution of a general release in a form satisfactory to Open Works of any
     and all claims against OpenWorks or its Affiliates.

     5.      SERVICES TO YOU. Openworks agrees to perform the following services for you, at
     locations selected by OpenWorks, provided that you are, at the time when service is to be rendered, in
     Good Standing under this Agreement, any other agreement with Openworks or its Affiliates, and the
     Manual:

               5.1     Training.

                     5.1.1 Initial Training. Before the opening of your Janitorial Service business,
     OpenWorks will conduct an initial training program in the operation of the Janitorial Service under
     OpenWorks' System for you and any of your employees who wish to attend at the same time, at no
     charge to you. You must attend and successfully complete the initial training program to the satisfaction
     of OpenWorks, as evidenced by a Certificate of Completion of Initial Training awarded by OpenWorks,
     before you may start operating your Franchise. The initial training program is offered once a month. You
     must complete the program within 45 days of signing your Franchise Agreement. Any Designated
     Manager of your Janitorial Service business must also attend and successfully complete the initial training
     program to the satisfaction of Openworks. OpenWorks will charge you a fee for any initial training
     provided to anyone after the first initial training program.

                       5.1.2 Continuing Education. OpenWorks may offer continuing education programs
     on matters related to the operation or promotion of the Janitorial Service on an optional or mandatory
     basis, as it considers appropriate. Open Works may charge you up to $150 per class for these programs.
     OpenWorks reserves the right to adjust this fee at any time in Open Works discretion.

              5.2      Offering Accounts.

                     5.2.1 Initial Accounts. After you have successfully completed the initial training,
     signed OpenWorks' Certificate of Completion of Initial Training, picked up your equipment, delivered a
     copy of your business license and entity/organizational documents, and paid the initial franchise fee,
     Open Works will offer you the initial Account Volume promised in Section 6.1 of this Agreement within
     the fulfillment period for the Franchise Package you purchase. Openworks will contact you by the
     method it chooses ( e.g., by telephone or e-mail) and give you a certain amount of time to accept or refuse
     the Account. If you do not respond during that time period, you will be deemed to have refused the
     Account. OpenWorks' fulfillment periods are as follows for each Franchise Package:

                                                                         Fulfillment
                                                    Initial Mot~ly
                                     Package                               Period
                                                    Acco-.t Volume
                                                                          '(Days)
                                   OW3                           3,000            120
                                   OW5                           5,000            180
                                   OW7                           7,000            240


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                                                                         Fulfillment
                                                     Initial Monthly
                                       Package                             Period
                                                     Account Volume
                                                                           (Days)
                                     ow 10                      10,000            330
                                     ow 15                      15,000            480
                                     OW20                       20,000            630
                                     OW25                       25,000            780

     If you and OpenWorks agree to an initial monthly account volume greater than $25,000, the additional
     account volume will be offered in increments of 5,000 and increments of 150 days in the fulfillment
     period.

               If Open Works does not offer Accounts having the promised initial Account Volume within the
     required fulfillment period, you will be entitled upon written request to a refund of a portion of your
     initial franchise fee, as described in Section 6.1 of this Agreement. Such a refund will fulfill Open Works'
     obligation to offer the remaining portion of the initial Account Volume. If you do not make a written
     request for a refund within 30 days after the end of the fulfillment period, you will be deemed to have
     waived your right to a refund, but OpenWorks will remain obligated to offer you the remaining portion of
     the initial Account Volume for the franchise package you selected.

              r±: during the fulfillment period, you commit any default that would justify termination of an
     Account or of this Agreement (including but not limited to the performance and noncompliance issues set
     forth in the Account Satisfaction provisions at Section 7.2.5) Open Works may, at its option, suspend the
     fulfillment period until the default is cured instead of terminating your service to an Account or
     terminating this Agreement. If it appears, in Openworks' Reasonable Business Judgment, that you
     cannot or will not cure the default, Open Works may require you to repeat the initial training course.
     Open Works' fulfillment obligations to you are suspended until you successfully complete training. If you
     fail to successfully complete the initial training course during your original fulfillment period, then
     Openworks' fulfillment obligations to you will cease. Once you have cured the default or have
     successfully completed retraining course within the required time frame, the prior fulfillment period will
     be cancelled and a new fulfillment period will begin to run.

                     5.2.2 Additional Accounts. You will not have the option to purchase additional
     franchises. However, you may request Additional Accounts from OpenWorks. "Additional Accounts"
     are new Accounts, or an increase in the dollar Account Volume of an existing Account you are already
     servicing (through increased occupancy, additional services, or for any other reason), offered to you by
     OpenWorks over and above the Initial Account Volume ("AdVol"), under any of the following scenarios:

               (a)      You may request Open Works to provide you with Additional Accounts;

               (b)      Open Works may offer Additional Accounts to you on its own;

               (c)      Openworks, in conjunction with a proposed increase in an Account you are servicing,
                        will require you to purchase an increase in the dollar Account Volume of that Account,
                        and OpenWorks will assess a Marketing Fee (as defined in Section 6.8) from you that is
                        based on the increase; or

               (d)      Open Works, in conjunction with assigning an Account to you under a previous obligation
                        (Purchase Contract or replacement Account), will require you to purchase the overage if
                        the acceptance of that Account would cause the gross dollar volume under that Purchase
                        Contract to exceed the contract amount.
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              In each of these cases, you are required to execute an amendment to the Franchise Agreement (a
     "Purchase Contract"), signifying the purchase of the right to service one or more Additional Accounts,
     and to pay the appropriate Marketing Fee as provided in Section 6.8.l of this Agreement. You are
     deemed to have accepted the AdVol after you have serviced the account three times, regardless of when
     the Purchase Contract is executed and after the third service time OpenWorks will impose any applicable
     Marketing Fee as of the date that you first serviced the account. Openworks may have outstanding
     obligations to offer you Accounts under more than one Purchase Contract at a time. Assignment of a
     given Account, if of sufficient monthly billing magnitude, may help to fulfill Open Works' obligations to
     offer you Accounts under more than one Purchase Contract.

            You agree that Openworks is under no obligation to provide you with Additional Accounts and
     may do so solely at its own discretion.

                      5.2.3 Trial Period. You may refuse up to three separate new Accounts from the initial
     Account Volume offered (whether offered telephonically or otherwise and whether or not accompanied
     by an actual assignment) by Openworks for any reason whatsoever during the term of this Agreement.
     However, each refusal of an offered Account (whether offered telephonically or otherwise and whether or
     not accompanied by an actual assignment) from the initial Account Volume will extend the fulfillment
     period by an additional 30 days. After three refusals (whether orally or in writing), any Account offer
     from the initial Account Volume, that is initially refused by you or to which you discontinue services after
     accepting an Account wiJI reduce the Account Volume OpenWorks is obligated to offer you by the
     amount of the Account offered and will also, at OpenWorks' sole discretion, ex.tend the fulfillment period
     by an additional 30 days.

              You have a trial period of 30 days from the date that service under the Maintenance Agreement
     for the Account is scheduled to commence to refuse an Account. Your refusal of any Account (whether
     orally or in writing) will not relieve you of any payment obligations to OpenWorks, including without
     limitation your obligations under promissory notes for installments of your initial franchise fee or any
     Marketing Fee. OpenWorks must actually receive a notice of refusal (whether orally or in writing) within
     the 30-day period in order for it to be effective. If you fail to give a notice of refusal, or if OpenWorks
     does not actually receive it within the 30-day period, you will have waived your right to refuse the
     Account. You will lose your right to refuse an Account if at any time that you are obligated to service the
     Account you fail to do so in accordance with the Maintenance Agreement, work schedule, and the
     Manual.

             If you refuse an offered Account during the 30-day trial period, OpenWorks will use
     commercially reasonable efforts to locate another franchisee to service the Account. You must continue
     servicing the Account in good faith until the earlier of (i) the commencement of services by another
     franchisee, or (ii) 30 days after Open Works actually received your notice refusing the Account.

                      5.2.4 Replacement of Accounts. If any of Openworks' initial Accounts terminate
     their Maintenance Agreements within one year after the Maintenance Agreements commence,
     OpenWorks will offer you replacement Accounts within 150 days, subject to the conditions set out in this
     Section. If any of your Additional Accounts terminate their Maintenance Agreements within six months
     after their Maintenance Agreements commence, OpenWorks will offer you replacement Accounts within
     150 days, subject to the conditions set out in this Section. The foregoing guarantees do not apply to
     Accounts that are terminated as a result of any wrongful act, omission, negligence or nonprofessional
     interaction with the Account by you or your agents or Affiliates, including but not limited to, theft or
     breakage of property, failure to reset security alann systems, duplication of Account keys, being
     argumentative with the Account and violations of Section 7.2.5 of this Agreement pertaining to an
     Account's satisfaction with your Janitorial Service. Open Works is not obligated to replace any Account
     lost by you because of the Account's dissatisfaction or request that service be provided by another
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      franchisee. Openworks may act in its sole discretion in determining if the Account has been tenninated
      due to your or your agents' or Affiliates' wrongful act, omission, negligence or nonprofessional
      interaction with an Account or the Account's dissatisfaction. OpenWorks is not obligated to replace
      replacement Accounts.

             Replacement Account(s) will be the same or a greater monthly billing magnitude as the
     Account(s) they replace. If the monthly billing volume of the replacement Account(s) is greater than the
     terminated Account(s), Open Works may assess a Marketing Fee from you that is based on the overage.

                       5.2.5 Account Assignment Agreement. Each assignment to you of a new Account or
     an increase in an existing Account, beginning with the assignments of Accounts to fulfill your Initial
     Account Volume, will be made pursuant to a separate Agreement for Account Assignment or Increase (an
     "Account Assignment Agreement"), which will have its own date, Account information, and if
     applicable, Marketing Fee. By accepting the new Account or increase in an existing Account and
     performing services, you agree to all of the applicable terms set forth in this Agreement and in each
     Account Assignment Agreement as of the date of acceptance, regardless of the date of which you sign the
     Account Assignment Agreement, which are hereby incorporated herein by reference, including without
     limitation, the following:

                (a)      You acknowledge receiving a copy of the Maintenance Agreement and work schedule for
                         the assigned Account.

                (b)      You agree to service the Account and comply strictly with the terms of the Maintenance
                         Agreement and work schedule for the assigned Account, all according to the Manual and
                         the standards, procedures and policies established by Open Works from time to time.

                (c)      You certify that you have sufficient resources to service the assigned Account, including
                         working capital to purchase all needed supplies and equipment, and to meet all expected
                         payrolls for the first 45 days.

                (d)      If any portion of the assigned Account is an Additional Account ( additional business in
                         excess of the Initial Account Volume or replacement Account volume Openworks is
                         required to provide you). then you agree to pay Open Works the Marketing Fee stated in
                         the Account Assignment Agreement.

                (e)      You acknowledge that Open Works has made no representations to you about how long
                         the Account will use your services except as expressly stated in the Maintenance
                         Agreement. You W1derstand that there is no assurance that the Account will renew or
                         extend the Maintenance Agreement. OpenWorks retains all rights as the contracting
                         party with the Account.

                (f)      If you discontinue services for the assigned Account at any time for any reason, you
                         agree to immediately tum over to Openworks the Account's keys, security codes and
                         cards in your possession or the possession of your employees. If you do not do so, you
                         agree to pay Open Works all charges assessed by the Account plus $500 a day until the
                         Account's keys, codes and cards are delivered to OpenWorks.

                      5.2.6 Accounts Obtained by You. You are encouraged to solicit and procure
     janitorial client Accounts on your own behalf. You must conduct all marketing activities in strict
     conformity with the guidelines, policies and procedures set forth in the Manual. Open Works must sign a
     Maintenance Agreement with these Accounts and wiII provide the same administrative services to support
     these Accounts as it does to support Accounts it procures for you. You will pay all the same types of fees

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     in regard to these Accounts as you do in regard to Accounts procured by Open Warks for you except that
     you will not be required to pay a Marketing Fee to Open Warks for Accounts you obtain solely as the
     result of your own efforts. Openworks will impose the fees as of the date you begin servicing the
     Account unless we agree in writing that certain service calls or services are specifically excluded. Upon
     the Termination of this Agreement, Accounts you have procured must be assigned to Open Works if these
     Accounts do not already have a signed Maintenance Agreement with Open Works. In furtherance ofthis
     requirement, upon Transfer or Termination, you will immediately provide Open Works with a list of all
     Accounts and customers and facilities you are servicing or had serviced at any date during the 12 months
     preceding the date of such Transfer or Termination.

              5.3   Starter Kit. At no additional charge, OpenWorks will provide you with an equipment
     and supply kit to commence your Janitorial Service. The current starter kit being provided by
     Openworks is described in Attachment l. Openworks may substitute different brand names or make
     changes in specifications, but any substituted or changed item will be of equal or greater value and/or
     quality.

                5.4     Billing, Collection and Payment.

                       5.4.1 Billing and Collection Service. Openworks will provide billing and collection
     service for you. You must use this service and may not bill Accounts yourself. No later than the 2nd
     business day of each month, you must send to OpenWarks a statement of all services rendered by you
     during that month in the fonn currently prescribed by Open Works. Within 45 days after the end of each
     month, Open Works will send you your Gross Revenue for that month, after deduction of any sums
     currently due and payable by you to OpenWorks under this Agreement. Openworks may adjust the
     deadlines for reporting by you and payment by Open Works if, in its sole discretion, such adjustments are
     made necessary by general changes in the payment practices of Accounts in the area. You will be
     notified in writing of any such adjustments.

                    5.4.2 Limited Cash Flow Protection Service. At the time of sending your monthly
     Gross Revenue to you, Open Warks will advance you a sum equal to any delinquent payments that should
     have been, but were not, received by OpenWorks from any Accounts you serviced during the month for
     which payment is made if the following four requirements are met:

               (a)      The Account was not delinquent in the immediately preceding month;

               (b)      Open Works had not previously instructed you to terminate service to the Account;

               (c)      The Account was originally provided by Open Works; and

               (d)      Yau submitted to Open Works the monthly statement of all services rendered by you,
                        including services rendered to the delinquent Account, in a timely manner and in the
                        form prescribed by Open Warks.

                     5.4.3 Cost of Collection. OpenWorks is entitled to recover from you any costs it
     incurs, including but not limited to attorneys' and accountants' costs and fees, filing fees, delivery and
     photocopying charges, and costs of discovery, in collecting monies owed you by Accounts for your
     services. OpenWorks may apply to this obligation any monies paid to OpenWorks by you or for your
     Account.

     Any such sums advanced to you by Open Works must be paid to Open Works within 90 days after the date
     upon which payment was due from the Account whose payment was delinquent. Thereafter, you must
     repay Open Works or it may deduct amounts owed to it by you for such advances from any and all money

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     collected by OpenWorks on your behalf You must pay OpenWorks interest at the rate of 12% per year
     on any advances for which OpenWorks has not been reimbursed within 90 days after the date upon which
     payment was due from the Account.

            5.5       Consultation. Upon your request, Open Works will use commercially reasonable efforts
     to make its personnel available to you for consultation regarding operation of the Janitorial Service.

             5.6     Manual. Open Works will lend you a Manual containing information on operational
     methods, safety, rules and policies, marketing, names of approved suppliers, and other information that
     OpenWorks believes will be necessary or helpful to you in your operation of the Janitorial Service.
     Openworks may revise the Manual periodically to confotm to the changing needs of the Franchise
     Network and will distribute updates to you verbally, on the Intemet, by email or in the form of
     memoranda containing these revisions. You are required to operate your Janitorial Service in accordance
     with the Manual and any of its revisions. In the event of any dispute regarding the Manual, the terms of
     the master copy maintained by Open Works shall be controlling.

               5. 7    Advertising.

                      5.7.1 Advertising Fund. Openworks has established an advertising fund (an
     "Advertising Fund") to pool advertising monies of OpenWorks and each of its franchisees so as to
     achieve greater benefits for all in promoting the Openworks brand and its Trade Names and Marks.
     OpenWorks may, at its option, establish additional Advertising Funds. You must pay to OpenWorks as a
     contribution to the Advertising Fund up to 1% of your Gross Revenue, payable at the same times and in
     the same manner as royalties. Openworks currently contributes to the Advertising Fund in excess of
     franchisee contributions for its commercial accounts; however, OpenWorks reserves the right to decrease
     its contribution amounts in the future. OpenWorks shall administratively segregate all contributions to
     the Advertising Fund on its books and records. However, any payments to the Advertising Fund may, at
     Openworks' discretion, be deposited in Openworks' general operating account; may be commingled
     with OpenWorks' general operating funds; and may be deemed an asset of Open Works, subject, however,
     to Open Works' obligation to expend the monies in the Advertising Fund in accordance with the terms
     hereof. Openworks may, in its sole discretion, elect to accumulate monies in the Advertising Fund for
     such periods of time as it deems necessary or appropriate, with no obligation to expend all monies
     received in any fiscal year during such fiscal year. From time to time, Openworks' expenditures for
     advertising in any fiscal year may exceed the total amount contributed to the Advertising Fund during
     such fiscal year. In such event, Open Works shall have the right to be reimbursed to the extent of such
     excess contributions from any amounts subsequently contributed to the Advertising Fund or to use such
     excess as a credit against its future contributions. The parties do not intend that the Advertising Fund be
     deemed a trust.

                      5.7.2 lJse of Funds. The Advertising Fund may be used to pay for market research,
     development, branding, quality assurance, advertising materials, promotion or public relations programs,
     media placement for a national or regional advertising program, a referral program, or any combination of
     them, as Openworks, in its sole discretion, may deem necessary or appropriate to advertise or promote
     OpenWorks and to assure and enhance the name, goodwill, reputation and quality of the System and
     Open Works' brand, Trade Names and Marks. OpenWorks shall direct all such programs and activities,
     with sole discretion over the methods, types of support (including without limitation, training, account
     quality visits and written materials), creative concepts, materials, endorsements and media used, and the
     timing, placement and allocation thereof. You agree that the Advertising Fund may be used to meet any
     and all costs of maintaining, administering, developing, creating, directing and preparing national,
     regional or local research, development, quality assurance, advertising and promotion materials, branding
     programs, advertising programs and activities, including without limitation. the costs of creating,
     preparing and conducting test marketing, surveys, direct mail/distribution, couponing, television, radio,
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     magazine, bill board, newspaper and other media programs and activities, training and inspection
     programs, updated Manuals and the costs of hiring others to assist Openworks. Openworks may initiate
     Advertising Fund projects that are national or regional in scope and may also make allocations of
     Advertising Fund monies to local groups of franchisees or individual franchisees when Openworks
     considers it desirable. Because the benefits of advertising and promotion are difficult to measure with
     precision, Openworks reserves the unqualified right to detennine, in its sole discretion, how Advertising
     Fund monies will be spent; provided that the monies must be used in a manner that is described above.
     You understand and acknowledge that the Advertising Fund is intended to maximize general public
     recognition and acceptance of the Trade Names and Marks for the benefit of the System as a whole and
     that OpenWorks undertakes no obligation in administering the Advertising Fund to ensure that any
     particular franchisee benefits directly or pro rata from the Advertising Fund. Openworks reserves the
     right to terminate the Advertising Fund, but in such event will spend or use all remaining Advertising
     Fund assets for advertising in accordance with this Section.

                      5.7.3 Reports. OpenWorks will prepare an annual summary of the percentages spent
     on production, media placement, administrative expenses and other categories as appropriate from the
     Advertising Fund in the prior year. This summary will be made available to you at OpenWorks' regional
     office within IO business days from Open Works' receipt of your written request.

              5.8      Suggested Suppliers. OpenWorks will give you, in the Manual or otherwise in writing,
     a list of names and addresses of suppliers of goods and services that currently meet its standards and
     specifications. In advising you of suppliers that meet its standards and specifications, OpenWorks
     expressly disclaims any warranties or representations as to the condition of the goods or services sold by
     such suppliers, including, but not limited to, expressed or implied warranties as to merchantability or
     fitness for any intended purpose. You agree to look solely to the manufacturer of goods or the supplier of
     services for the remedy for any defect in the goods or services. You may request that OpenWorks
     approve additional or alternate suppliers by providing Open Works with the required information for each
     proposed supplier in accordance with the Manual. Openworks will evaluate the proposed supplier and
     give you a written response to your request within sixty (60) days of the date OpenWorks receives the last
     piece of information from you. You must also reimburse Openworks for all costs incurred by
     OpenWorks in investigating and inspecting the proposed supplier and in testing the proposed supplier's
     product. OpenWorks has the right to deduct these fees from monies that are due to you from Open Works.

     6.         PAYMENTS BY YOU.

             6.1     Initial Fee. You are required to pay Openworks in cashier's check or certified check
     payable to "0.P.E.N. America, Inc." or other fonn of payment acceptable to Open Works, an initial fee
     determined in accordance with Attachment 2 of this Agreement.

              Higher franchise levels with increased account volume more than OW 25 may available in your
     area. If so, then the additional account volume would be offered in additional $5,000 increments from the
     levels at OW 25 stated in Attachment 2.. The franchise fee would be calculated as the OW 25 franchise
     fee of $33,000 plus a multiplier of 3 times the increased volume amount. For example, for a $5,000
     increase from a $25,000 account volume to a $30,000 account volume, the initial fee would be calculated
     as $72,000 + ($5,000 * 3) or $87,000. The amount financed under the standard program would remain at
     $10,000 for each additional account volume and the down payment would be calculated as the :franchise
     fee less the $10,000 financed. The veteran's program would have the same down payment for each
     franchise level as the standard program but a 10% discount would be deducted from the amount financed.

                You have selected the Franchise Package as stated in Article 1 of this Agreement.



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             The fee schedule in Attachment 2 of this Agreement does not include sales tax, which, if
     applicable, must be paid by you.

              If the franchise fee is paid in full before beginning operation, a 10% discount off the franchise fee
     will be applied. The exact amounts for the franchise packages are stated in Attachment 2.

             If you wish to finance a portion of the franchise fee, Open Works will offer financing at 12% per
     year or at the highest rate permitted by applicable law, whichever is less, over a two year period. The
     loan will be memorialized by a promissory note in substantially the form of Exhibit D to the Franchise
     Disclosure Document.

              The initial franchise fee is non-refundable, unless OpenWorks has been unable to offer a
     sufficient dollar volume of Accounts to you for the package purchased by you within the fulfillment
     period specified in Section 5.2.1 of this Agreement. If the dollar volume of Accounts offered to you
     within the fulfillment period falls short of the amount specified in Section 5.2.1 of this Agreement, then
     your sole remedy is to receive a partial refund from Open Works, calculated as follows: The partial refund
     will be an amount equal to the difference between the Initial Account Volume of the package and the
     Account volume of the Account(s) actually offered, multiplied by the package multiplier applicable to the
     package that was purchased. The package multipliers are as follows:

                                            PKG.               MULTIPLIER
                                            ow   3                   3.73
                                            ow   5                   2.90
                                            OW 7                     2.71
                                            OWlO                     2.56
                                            ow 15                    2.56
                                            OW20                     2.56
                                            OW25and                  2.56
                                            greater

             At any time after the fulfillment period, Open Works, in its sole discretion, may elect to provide
     you with a partial reftmd in accordance with the above calculation in full satisfaction of all of its
     obligations to provide you with Accounts.

            Open Works has the right to offset any amounts owed to it by you or your Affiliate against the
     amount of the refund.

              The following is an example of recalculations of the initial franchise fee:

                        You purchase Package OW 5 for $18,500, with $9,500 down and $9,000
                       financed.     This Package should generate $5,000 per month.             However,
                        Open Works offers to you Accounts that generate only $4,000 per month within
                       the fulfillment period. To calculate your refund, the first step is to subtract the
                       actual Account Volume from the Initial Account Volume for the package
                       purchased, as follows: $5,000 - $4,000 = $1,000. The difference is then
                       multiplied by the multiplier for Package OW 5: $1,000 X 2.9 = $2,900.
                       However, since you have an outstanding note balance of $9,000 payable to
                        Open Works (assuming no payments were made), the $2,900 refund will app(v to
                       that balance. Therefore, in this case the promissory note is reduced from $9,000
                       to $6,100 ($9,000- $2,900 = $6,100) and no actual cash refunds are given.

             The reason why the net cost to you of the Accounts provided to you in the example, above, is less
     than it would have been if you had purchased the smaller package in the first place is that the cost per
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     dollar of Initial Account Volume decreases as the size of the package increases. If OpenWorks fails to
     offer you the requisite Initial Account Volume for the package purchased, your initial franchise fee is still
     calculated at the same lower cost per dollar of Initial Account Volume as the package that you purchased.

              6.2    Royalties. Open Works will deduct from your Gross Revenue a monthly royalty of 15%
     of the monthly Gross Revenues of the Janitorial Service, calculated on the basis of your Gross Revenue
     for the immediately preceding month.

             6.3      Special Project Fees. You agree to pay OpenWorks a "Special Project Fee" of a
     specified percentage of the total contract price for the job, before deduction of royalty fees, of each one-
     time, non-recurring Account service job, such as a carpet cleaning, performed by you for which
     Open Works obtained and/or priced the job (regardless of who originally obtained the Account). If you
     obtained the job, but OpenWorks priced it, the Special Project Fee is 15% of the total contract price for
     the job; if Open Works obtained the job, but you priced it, the Special Project Fee is 15% of the total
     contract price for the job; if Open Works obtained and priced the job, the Special Project Fee is 30% of the
     total contract price for the job. If you obtained and priced the job, the Special Project Fee is zero.
     OpenWorks will deduct the Special Project Fee for assistance rendered during the preceding month from
     its monthly remittance of Gross Revenue to you.

              6.4     Advertising Fund Contributions. You must pay a monthly contribution to the
     Advertising Fund of up to 1% of the monthly Gross Revenue of the Janitorial Service calculated on the
     basis of your Gross Revenue for the immediately preceding month, which will be expended in accordance
     with Section 5.7. Open Works will deduct the Advertising Fund contribution from its monthly remittance
     of Gross Revenue to you. Open Works shall have the sole right to enforce your obligations and all other
     franchisees of the System who are obligated to contribute to the Advertising Fund, and neither you nor
     any other franchisee of the System who shall be obligated to contribute to the Advertising Fund shall be
     deemed a third-party beneficiary with respect to said Advertising Fund or have any right to enforce any
     obligation to contribute thereto.

              6.5      Payment of Royalties and Advertising Fund Contributions. Your obligations to pay
     ongoing monthly royalties and monthly Advertising Fund contributions begin on the Effective Date of
     this Agreement, as defined above. Your obligation to pay your fees to OpenWorks is not excused by your
     failure or delay in returning any agreement or paperwork to Open Works.

              6.6      Inspection of Records. Upon reasonable notice to Open Works, you will have the right
     during normal working hours to inspect the books and records of Open Works pertaining to billings and
     collections for the Accounts assigned to you.

             6.7      Openworks' Right to Audit Your Records. You agree to keep and maintain for a
     period of three years (even if this Agreement is tenninated) true, original, and accurate records of your
     business, including, without limitation, accounts, books, licenses, data, contracts and product supplier
     invoices, and not to engage in activities in violation of your Franchise Agreement, in particular direct
     billing of Accounts or provision of services to Accounts. without reporting them to Openworks.
     Furthermore, you agree to keep your books and records open to examination, copying and audit by
     OpenWorks. Upon Open Works' request, you shall prepare and produce all of your business/personal
     records, bank statements, financial statements, tax returns, financial statistics and any other relevant
     document or data for Open Works to verify that all fees due to it are paid by you. Any such information
     provided to OpenWorks pursuant to this Section shall belong to OpenWorks and may be used and
     published by OpenWorks in connection with the System. Upon OpenWorks' request, you shall furnish
     Open Works with a copy of each of your reports and reimbursement of sales, use and gross receipt taxes
     and complete copies of any federal or state income tax returns covering the operation of the JanitoriaJ
     Service, all of which you shall certify as true and correct.
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              If an examination or audit by Openworks discloses that you have directly billed Accounts or
     provided services to Accounts without reporting them to Openworks, or that you have underreported
     your Gross Revenues to OpenWorks in any other manner, the total amount of all fees and charges due
     hereunder as a percentage of such Gross Revenues shall be immediately due and payable to OpenWorks,
     together with interest on late payments as provided in Section 6.11 of this Agreement. In addition, you
     must pay OpenWorks all reasonable costs, expenses and overhead incurred by OpenWorks in connection
     with its examination and/or audit.

               6.8     Marketing Fee.

                     6.8.1 Amount and Payment. You must pay Openworks a Marketing Fee for
     Openworks' services in locating Additional Accounts for you. Currently, the Marketing Fee is
     determined as follows and summarized in the chart below. OpenWorks reserves the right to increase the
     Marketing Fee at any time, in its sole discretion, by providing 30 days advanced written notice to you or
     by amending the Manual.

               (a)     If the gross monthly billing of the Additional Accounts located by OpenWorks for you is
                       $5,000 or less, the Marketing Fee shall be 3 times one month's gross billing of the
                       Additional Accounts.

               (b)     If the gross monthly billing of the Additional Accounts located by Open Works for you is
                       between $5,001 and $10,000, the Marketing Fee shall be 2.7 times one month's gross
                       billing of the Additional Accounts.

               (c)     If the gross monthly billing of the Additional Accounts located by Open Works for you is
                       greater than $10,000, the Marketing Fee shall be 2.2 times one month's gross billing of
                       the Additional Accounts.

             The Marketing Fee applicable to any Purchase Contract may be altered at any time before
     signing of the Purchase Contract, depending on changes in market conditions or industry standards
     or on the type of Account to be offered.

              If you pay the Marketing Fee in full immediately, you will receive a 10% discount. The
     Marketing Fee may be partially or entirely financed in Open Works' sole discretion, considering the size
     of the transaction, other debt service payable by you to Openworks and others, your credit history, and
     your anticipated cash flow. Any portion of the Marketing Fee that is financed will be memorialized by a
     promissory note substantially similar to Exhibit D of the Franchise Disclosure Document. The terms of
     financing shall be one payment equivalent to a down payment if you do not make the down payment at
     the time you contract for the Additional Accounts, and 24, 30, 36 or 48 equal monthly payments of the
     principal balance due plus annual interest of 12%. Openworks will deduct the Marketing Fee from its
     monthly remittance of Gross Revenue to you. The down payment ( or first note payment) and the number
     of monthly payments are determined as follows:




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          Monthl" Billine                                Down Payment or      Financin!! Terms
                                                                                                            Discount (if
                                     Marketing Fee {as      First Note
                                                                            Number of                      paid in full at
                                     a multiple ofthe     Payment (as a
                                                                            Additional    Interest              the
         From               To         full monthly      percentage ofthe
                                                                             Monthly        Rate              time of
                                          billing)         full monthly
                                                                            Payments                        acceptance)
                                                              billine)
                      '
           $0              $5,000           3                  30%             24            12%                  10%
         $5,001           $10,000          2.7                 15%            24-30          12%                  10%

        $10,001           No Limit         2.2                 5%             36-48          12%                  10%


                      6.8.2 Refunds. The Marketing Fee will be refunded to you on a proportionate basis if
     Open Works does not offer the requested Additional Account Volume to you within 120 days after signing
     of the Purchase Contract or another fulfillment period specified in the Purchase Contract. The fulfillment
     period may be extended when you refuse an Account you are offered, as described in Section 5.2.3 of this
     Agreement. Additionally, if you refuse the Additional Account under Section 5.2.3 of this Agreement,
     any down payment you have made will be either refunded to you by the end of the month after the month
     in which you refuse the Account or will be credited towards a different Additional Account if you accept
     a replacement Additional Account. The Marketing Fee is not refundable under any other circumstances.
     Specifically, the Marketing Fee is not refundable, and OpenWorks has no obligation to offer you
     replacement Accounts, if an assigned Account is transferred at the request of the Account, or the Account
     cancels the assigned Account, in either case because of your wrongful act, omission, negligence or
     nonprofessional interaction with an Account, for the Account satisfaction reasons stated in Section 7.2.5,
     for any reason that you or your employees, agents or Affiliates could have controlled, or for any violation
     of the Maintenance Agreement or work schedule, this Agreement or the Manual.

                6.9          Extended Account Guarantee Fee.

                      6.9.1 Guarantee and Replacement of Accounts. When selected Accounts are
     assigned to you, Open W arks may offer you, at its sole discretion, the opportunity to purchase an extended
     Account guarantee on that Account as additional protection to you in case that Account is cancelled. If
     you accept the offer, and the Maintenance Agreement is terminated by an Account for any reason other
     than as stated in paragraphs (a) through (i) inclusive of Section 7.2.5 of this Agreement on account
     satisfaction, then Openworks will offer you a replacement Account within 150 days. The replacement
     Account will be the same or greater monthly billing magnitude as the Account that it replaces. If the
     monthly billing volume of the replacement Account is greater than the canceled Account, Open Works
     may assess a Marketing Fee from you that is based on the overage. Openworks is also not obligated to
     offer you an extended Account guarantee fee on the replacement account. You must accept the offer and
     sign the current form (an example of which is attached to this Agreement as Attachment 5).

                      6.9.2 Payment. You must pay Openworks a monthly extended Account guarantee
     fee, which is a percentage of the monthly Gross Revenue of the Janitorial Service, calculated on the basis
     of your Gross Revenue for the immediately preceding month. Open Works has the right to change this
     percentage for new Accounts being offered to you but once you purchase an extended Account guarantee,
     the percentage will not change for as long as you have the guarantee on the Account. Open Works will
     deduct the extended Account guarantee fee from its monthly remittance of Gross Revenue to you.

                        6.9.3 Transfer and Termination. The extended Account guarantee will continue as
     long as you are servicing the selected Account. If the extended Account guarantee is terminated by you
     or Open Works as provided below, you will not receive any refund of the fees paid for the guarantee. You
     may terminate the extended Account guarantee upon 30 days written notice to Openworks. If you
     transfer or sell the Account then the extended Account guarantee is terminated without further notice as of
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     the date of your transfer or sale. Open Works may, but is not obligated to, offer an extended Account
     guarantee to the transferee upon such a transfer or sale. If Open Works terminates your Account for any
     of the reasons stated in paragraphs (a) through (i) inclusive of Section 7 .2.5 of this Agreement, then the
     extended Account guarantee will be terminated without further notice.

             6.10    Account Transfer Fee and Franchise Transfer Fee. As a condition of Transfer of an
     Account or this franchise, you must pay to Open Works an Account Transfer fee of $50 per Account for
     the Transfer of one or more (but less than substantially all) of the Accounts you service, and a Franchise
     Transfer Fee of$2,000 for all other Transfers.

              6.11     Interest on Late Payments. Any payment not received by OpenWorks when due will
     bear interest at 21 % per year or at the highest rate allowed by applicable law from the date when payment
     is due, whichever is less. Interest charges on late payments are intended to partially compensate
     Open Works for loss of use of the funds and for internal administrative costs resulting from late payments,
     which would otherwise be difficult to measure with precision. The fact that such charges are imposed
     should not be construed as a waiver of the right to timely payment.

             6.12    Account Charges. If you fail to turn over to Open Works all Account keys, security
     codes and cards immediately when you discontinue services to an Account, you must pay OpenWorks all
     charges assessed by any Account plus $500 per day until the Account's keys, codes and cards are
     delivered to Open Works.

              6.13    Cancellation Charges. You must pay OpenWorks a cancellation charge of $50 if you
     fail to keep any appointment with OpenWorks or an Account (including but not limited to an appointment
     for a quality control inspection) unless you give at least 24 hours advance notice that you are canceling
     the appointment. You must pay Open Works a cancellation charge of $50 if you, any of your owners,
     your Designated Manager or any of your employees fails to attend any training class for which you, he or
     she is scheduled.

              6.14     Minimum Account Service Fee. If you are not actively engaged in providing Janitorial
     Services for a period of one full calendar month ("Inactive Month"), then you must pay OpenWorks a
     "Minimum Account Service Fee" of $75 per Inactive Month until you either begin providing Janitorial
     Services or request in writing that Openworks terminate your franchise. OpenWorks will bill you
     directly for this Minimum Account Service Fee. The Minimum Account Service Fee is due and payable
     on or before the 10th day of each month following each Inactive Month. If you accept an account after any
     Minimum Account Service Fee is due, Open Works may deduct the Minimum Account Service Fee from its
     monthly remittance of Gross Revenue to you. If you remain inactive for three or more calendar months,
     even though you have paid the Minimum Service Fee for those months, Openworks may terminate your
     franchise in accordance with Section 10.2.1 of this Agreement. The Minimum Account Service Fee is
     waived during the fulfillment period.

             6.15   Background Check Fee. Upon the signing of this Agreement and at any time you
     finance any Marketing Fee, Openworks will evaluate your credit history and charge you its background
     check fee.

             6.16  Document Preparation Fee. If you request the preparation of customized documents for
     marketing or other purposes, you will be assessed a $250 preparation fee due upon request for
     preparation.

            6.17    Manual Check Fee. If you elect to have payments due to you made pursuant to a
     manual check in lieu of a direct deposit into a designated account, you will be assessed a fee ofup to $25
     per manual check.

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             6.18     Equipment and Supplies. Openworks provides you with an equipment and supply
     Starter Kit in accordance with Section 5.3. Once you have exhausted your equipment and supplies from
     the Starter Kit, you must purchase ongoing equipment and supplies only from OpenWorks' designated
     and approved suppliers. If you purchase equipment or supplies through Openworks, Openworks will
     deduct amounts owed to Openworks from funds Openworks is obligated to pay to you. OpenWorks
     reserves the right to require you to pay Openworks directly at the time you order any equipment or
     supplies from Open Works.

              6.19    Trouble Call Fee. If OpenWorks is required to investigate or resolve a customer
     complaint on your behalf, you must pay Openworks a Trouble Call Fee of $50 per occurrence plus
     reimburse OpenWorks for any service Openworks provides to your customer at the current hourly rate
     set forth in the Manual. Open Works has the right to deduct the Trouble Call Fee and any reimbursable
     charges from funds Open Warks is obligated to pay you.

              6.20     Lost Document Fee. If you have damaged, lost or otherwise misplaced any document
     relating to the franchise relationship and request a replacement of such document, OpenWorks will charge
     you $25 for a replacement copy of each such document.

              6.21    Legal Entity Fee. The parties acknowledge and agree that in the event you fail to
     complete the Required Transfer within 90 days of the Effective Date, it will be difficult to quantify the
     time and cost OpenWorks will incur in enforcing your compliance with the Required Transfer obligation.
     Therefore, if you fail to complete the Required Transfer within 90 days of the Effective Date, you agree to
     pay Open Works a fee of $500 per month until such Required Transfer is complete, which the parties
     agree is a reasonable estimate of Open.Works' time and cost in enforcing your compliance with the
     Required Transfer obligation. The requirement to pay this fee is not an election of remedies, and at any
     time after 90 days of the Effective Date and before you complete the Required Transfer, OpenWorks may
     terminate your franchise in accordance with Section 10.2.1 of this Agreement.

     7.        YOUR OBLIGATIONS.

               7.1     Use of Trade Name and Marks.

                      7.1.1 Context. You will use the Trade Names and Marks only in the operation of your
     Janitorial Service. You will not use any other trade names or marks in connection with your Janitorial
     Service. You cannot use the Trade Kame or Marks as part of your legal business name, or with other
     words, designs or symbols. You may not use the Trade Name or Marks in connection with the sale of
     unauthorized products or services, or in any manner not authorized by Openworks. You will not
     represent in any manner that you have acquired any ownership rights in the Trade Names or Marks. You
     acknowledge Open Works' ownership in the Trade Names and Marks. Any goodwill associated with the
     System and identified by the Trade Names and Marks (including all future distinguishing characteristics,
     improvements and additions to or associated with the System) is OpenWorks' property and shall inure
     directly and exclusively to the benefit of Open.Works. Upon the expiration or Termination of this
     Agreement for any reason, no monetary amount shall be assigned as attributable to any goodwill
     associated with your use of the Trade Names or Marks.

                       7.1.2 Changes in Trade Names and Marks. Open.Works has invested substantial
     time, energy and money in the promotion and protection of its Trade Names and Marks as they exist on
     the date this Agreement is signed. It has no present intention of altering them. However, Open Works and
     you both recognize that rights in intangible property such as the Trade Names and Marks are often
     difficult to establish and defend and that changes in the cultural and economic environment within which
     the System operates may make changes in the Trade Names and Marks desirable or necessary. You
     understand that Open Works therefore reserves the right to change any of its Trade Names and Marks and
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      the specifications for each when it believes that such changes will benefit the Franchise Ketwork. You
      agree that you will promptly conform, at your O\,VO expense, to any such changes.

                      7.1.3 Advertising. You agree to submit to OpenWorks copies of all advertising
     materials that you propose to use at least two weeks before the first time they are distributed, broadcast or
     published. All advertising must conform to the standards set out in the Manual. Open Works will review
     the materials and notify you within ten business days whether it approves or rejects them. Silence or
     failure to respond will not be deemed consent. OpenWorks will not withhold its approval unreasonably.
     For purposes of this Section, advertising materials that differ from previously approved materials only in
     such variables as date, price or names of products will be considered to be previously approved.
     However, even if Open Works has approved specified materials, it may later withdraw its approval if it
     reasonably believes it necessary to make the advertising conform to changes in the System or to correct
     unacceptable features, including, but not limited to, any misrepresentation in the advertising material,
     whether or not intentional. You may not engage in telemarketing in connection with your Janitorial
     Service.

                      7.1.4 Legal Protection. You agree to notify Openworks immediately in writing if
     you become aware of any unauthorized use of its Trade Names, Marks or System. You will promptly
     notify Open Works in writing of any claim, demand or suit against you or against your principals based
     upon or arising in connection with your use of the Trade Names, Marks or System. In any action or
     proceeding arising from or in connection with any such claim, demand or suit. you agree that OpenWorks
     may select legal counsel and has the right to control the proceedings, including the right to compromise,
     negotiate and settle, in its discretion, such claims, demands or suits. You may not initiate any
     communication or respond with any information on any infringement or challenge with any person other
     than your legal counsel, OpenWorks, our affiliates, or our counsel. If Open Works undertakes the defense
     or prosecution of any litigation or proceedings relating to the Trade Names or Marks, you will execute
     any and all documents and do such acts and things as may, in the opinion of Open Works' legal counsel,
     be reasonably necessary to carry out such defense or prosecution.

                 7.2      Quality Control.

                       7.2.1 Opening. You may not begin to operate the Janitorial Service until Open Works
     certifies in writing that you and your Designated Manager have satisfactorily completed initial training.

                      7.2.2 Compliance With Manual. You must operate your Janitorial Service in
     complete compliance with the standards and specifications set out in the Manual. Open Works may make
     changes in these standards and specifications, when, in its reasonable discretion, change is needed for the
     continued success and development of the System and the Franchise Network. Such changes may
     necessitate the purchase of equipment (including a computer system), supplies or other goods, completion
     of additional training by your employees, or other cost to you. You will promptly conform to the
     modified standards and specifications at your own expense. You must at all times keep your copy of the
     Manual current by inserting in it revised pages and other changes given to you by OpenWorks and
     deleting superseded pages. You must also protect its confidentiality by allowing access only by
     employees with a need to know its contents and by establishing and enforcing procedures to safeguard the
     Manual in a secure location when it is not in use. If there is any dispute as to the requirements of the
     Manual at any point in time, the terms of the master copy of the Manual maintained by OpenWorks will
     control.

                    7.2.3 Your Performance. You will provide Janitorial Services to your Accounts in a
     workmanlike and professional manner. Great weight will be given to the Accounts' opinions as to what
     is workmanlike and professional. You will carefully safeguard and protect the keys to your Accounts'
     buildings and will never give custody of the keys to any person not directly associated with the Janitorial
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     Service or for any unauthorized purpose. You will diligently follow any instructions or warnings made
     by any Account as to the security of the Account's premises or as to how, when and where you may
     perform Janitorial Services. Failure to adhere strictly to these requirements will be considered grounds
     for immediate termination of your right to serve a particular Account. If violation of this Section occurs
     repeatedly, Open Works may terminate this Agreement.

                      7.2.4 Services Offered. You will offer and sell all the services and only the services
     that OpenWorks has authorized you to provide. You may purchase products that are to be used in the
     Janitorial Service from any source, as long as the supplier meets the standards established by Open Works
     and the products meet the specifications set out in the current version of the Manual. If you wish to use
     any product not previously certified by Open Works to meet its specifications or which is sold by a
     supplier not previously approved by Open Works, you will advise Open Works of this fact a11d, upon its
     request, will give OpenWorks product specifications, sample products, and/or information about the
     supplier. OpenWorks will communicate either its approval or its reasons for withholding its approval to
     you within ten business days. Silence may not be construed as consent. As a condition of approving a
     supplier or product, Open Works will require you to reimburse it for any expenses reasonably incurred by
     Openworks in inspecting the supplier's premises, checking the supplier's credentials, or testing the
     product. As a condition of approving a supplier of any product that bears the Trade Names or Marks,
     Openworks may require that the supplier sign a license agreement. Openworks may withdraw its
     approval of a supplier or product if either or both no longer meet its standards or specifications.

                     7.2.5 Account Satisfaction. OpenWorks may, at its sole discretion terminate your
     right to serve and to Transfer a particular Account, and may assign the Account to another franchisee,
     upon the occurrence of one of the following events:

               (a)      You have repeatedly tailed to perform Janitorial Services to an Account's satisfaction
                        and/or in accordance with the Maintenance Agreement or Manual and/or OpenWorks'
                        standards;

               (b)      An Accmmt has lodged an oral or written complaint with OpenWorks regarding you,
                        your service or your employees; Open Works has notified you of the substance of the
                        complaint, and the Account remains dissatisfied for more than five days from the date of
                        the notice;

               (c)      Openworks receives an oral or written request from an Account that the Account be
                        serviced by a different franchisee;

               (d)      You provide Janitorial Service to an Account in a capacity other than that of an
                        Open Works franchisee;

               (e)      You abandon or fail to provide service to an Account as scheduled or the Account
                        notifies Openworks that it is dissatisfied on any two days within a period of 60
                        consecutive days;

               (t)      You cancel or fail to keep appointments with Openworks or an Account for quality
                        control inspections on any two occasions within a period of 60 consecutive days;

               (g)      Openworks receives an oral or written request from an Account that its Maintenance
                        Agreement be terminated;

               (h)      If you or your Designated Manager are not Fluent in English;


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               (i)    You fail to maintain an adequate staff of employees sufficient to provide service to an
                      Account; or

              G)      You no longer wish to service an Account.

             You waive any claim or right to payment for services performed for an Account, and agree to
     Transfer such an Account after OpenWorks terminates your services to the Account under this Section.
     You agree that you will not be entitled to any payment upon Openworks' assignment of the Account to
     another franchisee, or to any refund or reduction of fees paid or promised to OpenWorks by reason of the
     termination of your service to any Account under this Section. You agree to successfully assist
     Open Works' managers in the transition or termination of an Account. OpenWorks may also terminate
     your franchise for events in subsections (a) through (i) inclusive of this Section (see Section I 0.2).

                      7.2.6 Inspections. Openworks may conduct periodic quality control inspections of
     your Janitorial Service operation during nonnal business hours. You must attend each of these
     inspections with Open Works or pay OpenWorks a cancellation charge of $50. Open Works will give you
     advance notice of the inspections. If there are repeated cancellations or absenteeism, OpenWorks has the
     right to terminate your services to an Account and/or terminate your Agreement. Open Works may also
     make quality control inspections without prior notice for which you will not have to attend.
     Alternatively, OpenWorks may require you to conduct such inspections, and promptly provide
     OpenWorks with written reports of such inspections in the format specified by OpenWorks from time to
     time. You must promptly correct any deficiencies in your operation, which you discover or which are
     brought to your attention by OpenWorks. If you do not take immediate, effective steps to bring your
     operation up to OpenWorks' standards, your failure to do so will constitute a material breach of this
     Agreement. If a deficiency is discovered at any time, during an inspection or following a complaint,
     OpenWorks has the right to correct the deficiency and charge you $50 for doing so.

                     7.2. 7 Notification of Complaints. You will notify OpenWorks promptly if you are
     served with a complaint in any legal proceeding that is in any way related to the Janitorial Service or if
     you become aware that you are the, subject of any complaint to or investigation by a governmental
     licensing authority or consumer protection agency.

                      7.2.8 Employees. You will maintain a staff of available and trained employees
     sufficient to operate the Janitorial Service in compliance with OpenWorks' standards.

                     7.2.9 Uniforms and Professional Attire. Your staff of employees must wear a
     uniform when the employees are on an Account's premises. The uniform must meet the standards set
     forth in the Manual. You or your Designated Manager must be in professional attire or in business casual
     attire with an Openworks polo shirt with the Openworks logo when on the Account's premises during
     normal business hours. If you are performing the Janitorial Services after normal business hours, then
     you may choose to be in a unifonn, professional business attire or business casual attire with an
     Open Works logo shirt when performing those services.

                     7.2.10 Best Efforts. You must use your best efforts and devote all of your productive
     time and effort to the management and operation of your franchise business on a full-time basis. You
     must promote Open Works in all your actions.

                      7.2.11 Designated Manager. If a corporation or other legal entity, you agree that a
     specific individual will be the Designated Manager. If you are an individual, then you may be the
     Designated Manager or you may appoint another Designated Manager. The Designated Manager must
     use his or her best efforts and personally be responsible for management of the janitorial service business
     on a day-to-day basis, and you must carefully monitor and be responsible for the performance of any
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     Designated Manager. The appointment or change of a Designated Manager is subject to the prior written
     approval of Open Works. You designate the person listed in Section 1 as the Designated Manager, and
     Openworks approves such person (subject to such Designated Manager's satisfactory completion of
     training in Section 5.1). OpenWorks has the right to rely upon instructions from the Designated Manager
     on matters relating to the franchise until OpenWorks receives a written notification from you changing
     the Designated Manager. You shall notify OpenWorks in writing of any proposed change in a Designated
     Manager before the change occurs. Openworks will review the request and shall use commercially
     reasonable efforts to approve or disapprove of the change within IO business days of its receipt of the
     request. If OpenWorks does not disapprove of the change within IO business days then the change is
     deemed to be approved. Open Works has the right to demand that you promptly remove a Designated
     Manager if the Designated Manager violates any provision of this Agreement or any other agreement with
     OpenWorks, including but not limited to, provisions in Section 7.2.5 that addresses, among other actions,
     failure to adequately provide janitorial service, comply with OpenWorks' standards and to be Fluent in
     English. Upon termination of employment of a Designated Manager, you are required to appoint a
     successor within 10 days and (if you are an individual) take on the role of Designated Manager until
     Open Works approves the proposed Designated l'vlanager and that person is qualified to take over.

                     7.2.12 English Language. You and your Designated Manager must be able to read,
     speak and write clearly and with proficiency ("Fluent in English") in order to adequately communicate
     with Accounts and to maintain OpenWorks' professional image. OpenWorks, in its sole discretioi;i., shall
     determine if you and/or your Designated Manager are Fluent in English.

                       7.2.13 Social Media Policy. We have the right to control all use of URL's, domain
     names, websites, addresses, metatags, links, email addresses and other means of electronic identification
     or origin ("e-names") related to the Janitorial Business and System. We also have the right to approve
     and limit your use of the Internet. Intranet, World Wide Web, wireless technology, digital cable, use of e-
     names, email, websites, home pages, bulletin boards, chat rooms, email, linking, framing, on-line
     purchasing cooperatives, marketplaces, barter exchanges, and related technologies, methods, techniques,
     registrations, networking, and any electronic communication, commerce, computations, or any means of
     interactive electronic documents contained in a network of computers or similar devices linked by
     communications software (collectively, "e-commerce"). Without our prior written consent, you will
     observe Openworks' policy on and will not register a domain name, create, maintain or establish an
     internet website or electronic mail address, blog, bulletin board, chat room, barter exchange, home page,
     marketplace, Facebook page, MySpace, Twitter YouTube, Linkedln, account or any other electronic
     media form (collectively, "website") advertising the Janitorial Business, or using our Marks, or any
     similar mark, in a website, in a web address, in a uniform resource locator or in any manner on the
     internet such as meta-tags, key words, linking or framing. You agree that we own all right, title and
     interest in and to, any and all websites and e-names we use or permit you to use in connection with the
     System or which bear our Marks or any similar marks. You agree that we also own all rights in any data
     collected via e-commerce related to the System, including any customer data, click-stream data, cookies,
     user data and hits and that such information is also included in our Confidential Information. You
     acknowledge that you may not mention or discuss the Janitorial Service, Openworks or the System
     without OpenWorks' prior written consent. Any and all photographs and other media approved by us that
     you have posted to any social media platform must comply with all applicable laws, including federal and
     state laws governing copyright. You agree and acknowledge that OpenWorks has the right to review all
     on-line e-commerce content involving the Marks or the System, and to require you to remove any content
     or usage, in OpenWorks• sole discretion.

             7.3     Insurance and Bond. You will be required to comply with the following policies
     regarding insurance and janitorial service bonds:



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               •       You must purchase and maintain a policy or policies of comprehensive public liability
                       insurance, including product liability coverage, covering all Janitorial Service assets,
                       personnel and activities on an occurrence basis with a combined single limit for bodily injury,
                       death or property damage ofnot less than $4,000,000.

               •       In some instances an Account may request additional insurance, which you will have to
                       additionally purchase.

               •       You must buy a janitorial service bond in the amount of $25,000 covering you and your
                       employees and OpenWorks and its officers and directors must be named as an additional
                       insured.

               •       You must obtain hired and non-hired auto insurance with a minimum of $25,000 - $50,000
                       liability coverage on all vehicles involved in the OpenWorks business.

               •       You must carry casualty insurance in a minimum amount equal to the replacement value of
                       your interest in the Janitorial Service supplies, vehicles and equipment.

               •       You must maintain workers compensation policies for your employees.

               •    You must maintain policies of disability insurance and any other types of insurance required
                    by applicable law.

               •    Openworks may increase the minimum coverage requirements set forth in this Section 7.3
                    annually if necessary to reflect inflation or other changes in circumstances.

               •    Each insurance policy that is required under this Section 7 .3 must contain a provision that the
                    policy cannot be canceled without 10 days' written notice to Openworks; it must be issued
                    by an insurance company of recognized responsibility, designate Openworks and its officers
                    and directors as an additional named insured, and be satisfactory to OpenWorks in form,
                    substance and coverage. You must deliver a certificate of the issuing insurance company
                    evidencing each policy or bond to OpenWorks within ten days after the policy is issued or
                    renewed.

              •     If you fail to purchase the required general liability insurance, any additional insurance and
                    bond, Openworks may enroll you in any insurance program it sponsors or purchase the
                    insurance and/or bond for your benefit and deduct the premiums and other related costs from
                    your monthly Gross Revenue. Failure to maintain the bond or the required amounts and
                    types of insurance set forth in any subsection of this Section 7.3, or any other insurance
                    required by applicable law, may result in a loss of Accounts or termination of your franchise.

              7.4         Financial and Legal Responsibility.

                      7.4.1 Compliance with Law. You must comply with all federal, state and local laws
     and regulations pertaining, directly or indirectly, to the Janitorial Service, including, but not limited to,
     Occupational Safety and Health Administration regulations. You must keep current all licenses, permits,
     bonds and deposits made to or required by any government agency in connection with the operation of the
     Janitorial Service. You must implement all administrative, physical and technical safeguards necessary to
     be in accordance with applicable law and best industry practices to protect any information that can be
     used to identify an individual, including names, addresses, telephone numbers, email addresses, social
     security numbers, employee identification numbers, signatures, passwords, financial information, credit
     cards information, vehicle identification numbers, account numbers, biometric or health data,
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     government-issued identification numbers and credit-report information ("Personal Identifiable
     Information" or "PII"). It is your responsibility to confirm that the safeguards you use to protect Personal
     Identifiable Information comply with all applicable laws and industry best practices related to the
     collection, access, use, storage, disposal and disclosure of PII even if Open Works provides you with any
     suggestions or guidance. If you become aware of any suspected or actual breach of security or
     unauthorized access involving Personal Identifiable Information, you will immediately notify Open Works
     and provide specifics on the Personal Identifiable Information was compromised or disclosed. Upon
     Openworks' reasonable request, you agree to permit Openworks, its affiliates, and any third party
     vendors Open Works designates to have independent unlimited access to all information generated by
     your computer system. If you have a third party vendor for your computer system, you agree to send your
     vendor a written notice granting Open Works unlimited access to your data in the event of an actual or
     suspected data breach. You specifically agree to comply with any state required employment verification
     programs and any federal employment verification programs such as E-Verify.

                      7.4.2 Payment of Indebtedness. You must pay promptly when due all taxes and debts
     that you incur in the conduct of your business.

             7.5      Pre-Existing Accounts. If you have an existing commercial janitorial or other facility
     services business prior to entering into this Agreement, the commercial accounts serviced by that business
     ("Existing Accounts") must be identified in Attachment 2 to this Agreement. You shall have two months
     from the date of this Agreement to convert the Existing Accounts to Open Works Accounts for which
     Openworks will provide billing and collection services as provided for in Section 5.4.1 of this
     Agreement, after which time Openworks will have the right (whether or not conversion has been
     completed) to begin charging royalties and other applicable fees or charges. You must also immediately
     cease soliciting any commercial janitorial or other facilities services business, except as an OpenWorks
     Franchisee.

              7.6     Variances. Open Works may from time to time approve exceptions or changes from the
     uniform standards of the System that OpenWorks, in its sole absolute discretion, believes necessary or
     desirable under particular circumstances. Franchisee understands that it has no right to object to or
     automatically obtain such variances, and that any exception or change must be approved in advance by
     Open Works in V\,Titing. Franchisee also understands that some franchisees may operate under different
     forms of agreements due to annual updates and program revisions, and consequently the rights and
     obligations of such franchisees may differ materially from those of Franchisee.

             7.7      Computer System. You must have a computer system that meets the requirements
     specified in the Manual, as may be revised from time to time. In order to communicate with Open Works
     you must also have Internet and email access. You must inform Open Works of any changes in the email
     account address listed in Article I before the change occurs.

             7.8      Certificate of Tax Compliance. Franchisee must, within ten days of each one year
     anniversary of the Effective Date of this Agreement, deliver to Open Works a certificate signed by one of
     Franchisee's oflicers, certifying, on behalf of Franchisee, that as of the date such certificate is delivered to
     Franchisee, Franchisee has complied "-'1th all laws of the state of its formation or incorporation relating to
     taxes and reporting of employees.

     8.       RELATIONSHIP OF PARTIES.

             8.1      Interest in Marks and System. You will not at any time do or cause to be done
     anything contesting or impairing Open Works' interest in its Trade Names, Marks or System. You acquire
     no rights in any of these things except for your right to use them in accordance with the express terms of


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     this Agreement. Openworks retains the right to grant other franchises or licenses to use the Trade
     Names, Marks and System upon any terms that Open Works wishes both within and without the Territory.

              8.2     Independent Status. Whether you are an individual or an independent legal entity, you
     will make this fact clear in your dealings with suppliers, lessors, government agencies, employees,
     Accounts and others. You will rely on your own knowledge and judgment in making business decisions,
     subject only to the requirements of this Agreement and the Manual. You may not expressly or impliedly
     hold yourself out as an employee, partner, shareholder, joint venturer, representative or general agent of
     OpenWorks, nor may you expressly or impliedly state or suggest that you have the right or power to bind
     OpenWorks or to incur any liability on its behalf. If you are a corporation, partnership or other form of
     legal entity, you will not use the Trade Names as part of your entity's name. We have no right to control
     your employment policies, including hiring, scheduling, pay rates, discipline or termination of your
     employees, except that you must adhere to our System standards in your Janitorial Business.

              8.3     Display of Disclaimer. Business cards, stationery, purchase order forms, invoices,
     leases, tax returns and other documents used by you in your business dealings with suppliers, lessors,
     government agencies, employees and Accounts must clearly identify you as an independent legal entity.

              8.4     Indemnification. You agree to indemnify, hold harmless and promptly reimburse
     Openworks and its Affiliates, and their directors, officers, employees and agents, harmless from and
     against all expenses, costs, claims, actions, proceedings, damages, liabilities and other losses (including,
     without limitation, attorneys' and accountants' costs and fees) of any kind arising from or in any way
     connected to any of your or your Affiliates' activities or your or your Affiliates' operation of the
     Janitorial Service. If Open Works or any other indemnified party is made a party to a legal proceeding in
     connection with an action of yours or your Affiliates, OpenWorks or the other indemnified party may hire
     counsel to protect its interests and you must promptly pay all costs and expenses they incur.

               8.5      Confidential Information.

                      8.5.1 Ownership. You acknowledge that OpenWorks is the sole owner of all the
     Confidential Information; that the Confidential Information is being imparted to you in trust and
     confidence; and that the Confidential Information is not generally known to the trade or public and is not
     known to you except by reason of such disclosure. You further acknowledge that you will acquire no
     interest in the Confidential Information other than the right to utilize it in connection with the
     performance of your obligations hereunder and the operations of the Janitorial Service. In addition, you
     acknowledge that the use, duplication or disclosure of the Confidential Information except as expressly
     permitted by this Agreement will constitute an unfair method of competition and that OpenWorks will
     suffer irreparable injury thereby.

                      8.5.2 Work Product. You agree that all documents, papers, notes and other material
     and work product containing or derived from the Confidential Information or connected with your
     conduct of the Janitorial Service business shall be Confidential Information. You agree that you will have
     no proprietary interest in any work product developed or used by you and related to this Agreement. You
     agree, from time to time, as may be requested by OpenWorks, to do all things that may be necessary to
     establish or document Openworks' ownership of any such work product, including without limitation
     execution of assignments.

                     8.5.3 Confidentia1ity. All of the Confidential Information and all other information
     and knowledge about the System, which is not in the public domain, and such other information and
     material as Open Works may designate as confidential shall be deemed Confidential Information for
     purposes of this Agreement. You acknowledge that the Confidential Information is disclosed to you
     solely on the condition that you agree, and you hereby do agree, that you: (a) will use the Confidential
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     Information in strict accordance vvith the instructions and directions given by Openworks from time to
     time; (b) will not use the Confidential Information, directly or indirectly, in any other business or
     capacity; (c) will not, at any time, in any manner or form, directly or indirectly, disclose, duplicate,
     license, sell, reveal, divulge, publish or communicate the Confidential Information, or any portion thereof,
     to any person or entity other than your authorized employees or consultants who need to have such
     information in connection with their jobs; (d) will not copy any materials containing the Confidential
     Information, including without limitation the System manuals, without Openworks' prior written
     consent; (e) will observe and implement all reasonable procedures imposed from time to time by
     Open Works to prevent the unauthorized use and disclosure of the Confidential Information; (f) will keep
     all System manuals and other written materials containing any portion of the Confidential Information in
     a secure manner and place; and (g) if you are legally compelled to disclose any of the Confidential
     Information, will do so only if you have used your best efforts to afford OpenWorks the opportunity of
     obtaining appropriate protective orders or other assurances of confidentiality satisfactory to Open Works.

                     8.5.4 Return of Confidential Material. Upon the termination, expiration or cessation
     and non-renewal of this Agreement for any reason, you must immediately (but in any event within five
     days of such termination. cessation or expiration) return to Openworks all copies of any materials
     containing the Confidential Information (whether in original or duplicate form) and all property and
     equipment belonging to Open Works, in your or your Affiliates' possession, custody or control, including
     any of such items produced or prepared by you. To the maximum extent permitted by the law,
     Openworks reserves the right to deduct the cost of unreturned or damaged property, equipment or
     information from amounts otherwise due to you or your Affiliates.

               8.6     Noncompetition.

                      8.6.1 Covenant. You recognize that: (a) the commercial janitorial and other facility
     services business is very competitive; (b) the System is operated in multiple states and is intended to
     expand into other geographical areas; (c) by virtue of the perfonnance of this Agreement, you will have
     access to the Confidential Information and will have close contacts with Openworks' Accounts for the
     purpose of maintaining and further developing the business and goodwill of the System; (d) you will have
     the attendant ability to divert customer trade; and (e) Open Works has strong legitimate interests in
     obtaining the covenant in this Section 8.6 for the protection of the goodwill of the System. You therefore
     agree that, without the express prior written consent of Open Works, which Open Works may withhold in
     its sole and absolute discretion, you will not, during the Time Period (as defined below), directly or
     indirectly, whether personally or as an agent, employee, partner, representative, affiliate or in any other
     capacity on behalf of any person or entity, engage in, render services to, or provide financing to, or have
     any interest in, in any manner whatsoever, any Competitive Business (as defined below) located or
     conducting business within the Area (as defined below).

                     8.6.2 Time Period. For the purposes of Section 8.6.1 of this Agreement, the term
     "Time Period" shall mean (a) for the period of time that this Agreement is in effect; and (b) beginning
     when this Agreement is no longer in effect, for a period of 24 months thereafter. In the event a court of
     competent jurisdiction determines that 24 months from the date this Agreement is no longer in effect is
     unenforceable, the Time Period will be 18 months. If a court of competent jurisdiction determines that 18
     months is unenforceable, the Time Period will be 12 months. If a court of competent jurisdiction
     determines that 12 months is unenforceable, the Time Period will be six months.

                     8.6.3 Competitive Business. For the purposes of Section 8.6.1 of this Agreement, the
     term "Competitive Business" shall mean any business providing janitorial services to commercial
     customers, or any other services that you are or were providing as part of your Janitorial Service business.



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                       8.6.4 Area. For the purposes of Section 8.6.1 of this Agreement, the term "Area"
      shall mean (a) the geographical area in which you provide or provided services to AccoW1ts, and (b) a
      radius of 75 miles from the regional office through which you conduct or conducted your Janitorial
      Service business, and (c) a radius of75 miles from any other regional office operated by Openworks or
      any of its master franchisees in the state where you conduct or conducted your Janitorial Service business,
      and (d) a radius of 75 miles from any other regional office operated by Open Works or any of its master
      franchisees in any other state.

                8. 7    Non-Solicitation.

                      8.7.1 Employees. You agree never to employ or solicit for employment any person
     who is at the time employed by OpenWorks or any other franchisee in the System, and you agree not to
     directly or indirectly induce any such person to leave their employment with OpenWorks or any other
     franchisee in the System.

                      8.7.2 Customers. You agree that while this Agreement is in effect, all solicitations
     you make relating to janitorial and other facility services will be made on behalf of your Janitorial Service
     business. You agree that after the expiration and non-renewal or the termination of this Agreement for
     any reason, you will not solicit as a customer for commercial janitorial or other facility services: (a) any
     Account you serviced as a franchisee of Open Works, or (b) any other Account of Open Works or any of
     its master franchisees serviced by others during the period this Agreement was in effect, or (c) any
     prospective customers to whom Openworks or any of its master franchisees had proposals or bids
     outstanding at the time this Agreement ended.

              8.8     Modification. The covenants set forth in Sections 8.1 through 8.7 inclusive of this
     Agreement shall each be construed as independent of any other covenant or provision of any other
     agreement. Open Works may reduce the scope of the obligations under the covenants of Sections 8.1
     through 8. 7 inclusive of this Agreement W1ilaterally and without the consent of any other person or entity,
     effective upon giving notice to you.

              8.9     Lack of Prior Conflict. You represent and acknowledge that none of you (if you are an
     individual), any person who owns any interest in your business nor your Designated Manager is bound by
     any post-employment covenant with a third-party that would restrict the fulfillment of your obligations or
     duties under this Agreement. To the extent any such person is bound by any such post-employment
     covenants, you represent and warrant that you have provided Open Works with a copy of the applicable
     written covenant.

             8.10    Notification. During the Time Period, you shall notify any new employer or business
     associate, prior to entering into the employment or business relationship, of the existence of this
     Agreement and will provide such new employer or business associate with a copy of this Agreement.
     You further agree and authorize Openworks to notify others, including customers of Open Works and
     your foture employers or business associates of your obligations under this Agreement.

               8.11   Tolling of Time Periods. The running of the Time Period or any period of time
     specified in Section 8.6.1 or Section 8.6.2 of this Agreement will be tolled and suspended for any period
     of time in which you are found by a court of competent jurisdiction to have been in violation of any
     restrictive covenant contained therein. You further agree that the existence of any claim you may have
     against Openworks, whether or not arising from this Agreement, shall not constitute a defense to
     Open Works' enforcement of the covenants contained in this Agreement.

             8.12    Non-Disclosure and Non-Competition Agreements. You must obtain written non-
     disclosure and non-competition agreements, in the form of Attachment 4 to this Agreement, signed by
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     each of the individuals who owns 5% or more of your business, and by the officers, directors, managers
     and other employees or consultants, including, but not limited to, your Designated Manager, who have or
     are likely to have access to the Confidential Information, and promptly send Open Works a copy of each
     such agreement.

     9.        TRANSFER.

              9.1    Purpose of Conditions for Approval of Transfer. Open Works' grant of this franchise
     to operate a Janitorial Service is made in reliance upon your integrity, ability, experience and financial
     resources and Openworks' investigation thereof. You may not make a Transfer (as defined in Section
     3.21 of this Agreement) unless you have first obtained Open Works' written consent, which will not be
     unreasonably withheld if you comply with this Article 9. In order to ensure that no Transfer jeopardizes
     the Trade Names, the Marks, or OpenWorks' interest in the successful operation of the Janitorial Service,
     OpenWorks will consent to a Transfer only if you comply with all of the applicable provisions of this
     Article 9. You must obtain our commercially reasonable consent to any broker or transfer agent that you
     wish to use. You must not use any of the Marks in any listing for sale or transfer without our prior
     written approval. You must obtain our prior written approval of any advertising for any Transfer.

             9.2     Notice of Proposed Transfer. If you wish to make a Transfer (including the Required
     Transfer), you must submit to OpenWorks (a) the form of franchise purchase application currently in use
     by Openworks completed by the prospective transferee; and (b) a written notice, setting forth all the
     terms and conditions of the proposed Transfer.

              9.3      Consent by Openworks. Openworks must respond to your written notice within 15
     days after receipt of the notice, or, if it requests additional information, within the later date of 15 days
     after receipt of the additional information or the final day of the original 15-day period. OpenWorks may
     either consent to the Transfer or state its reason for refusing to consent. Silence will not be construed as
     consent. If Open Works consents to the Transfer, then you may Transfer the interest described in the
     notice only to the named transferee and only upon the terms and conditions set forth in the notice and
     OpenWorks' consent Consent by Open Works to a particular Transfer will not constitute consent to any
     other or subsequent Transfer. You acknowledge that OpenWorks' consent to the Transfer is not a
     representation to you that any transferred Account will continue as an OpenWorks' Account or that the
     Account will use your services. Openworks has no obligation to you to disclose any concerns,
     complaints or Maintenance Agreement negotiations it had in the past or might have in the future with
     respect to any transferred Account. You understand that there is no assurance that any Account will
     renew or extend its Maintenance Agreement with OpenWorks.

              9.4     Conditions for Consent to Transfer. Unless a waiver in Section 9.5 applies to some or
     all of the conditions set forth below in this Section 9.4, every Transfer is subject to all of the following
     requirements:

              (a)      Transferee must be a legal entity;

              (b)      OpenWorks' satisfaction that the proposed transferee meets all of the criteria of
                       character, business experience, financial resources and other standards that Openworks
                       customarily applies to new franchisees at the time of Transfer; and if the Transfer is to an
                       existing Openworks franchisee, the franchisee must be in Good Standing and fully
                       capable, in OpenWorks' sole reasonable judgment, of servicing the additional business;

              ( c)     Payment of all your outstanding debts to OpenWorks;



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               (d)     Cure of all defaults under the Franchise Agreement, any other agreement between
                       OpenWorks and you, and the Manual;

               (e)     Signing by the transferee of the then-current form of franchise agreement, which may
                       contain terms substantially different from those in this Agreement, but in any event
                       amended to waive payment of an initial fee by the proposed transferee; to shorten the
                       term to the remainder of your current term; to provide that no supplies will be provided
                       by Openworks; to state that that no training is provided unless the $250 training fee is
                       paid; to identify whether OpenWorks has fulfilled its obligations on the Initial Account
                       Volume or to state the remaining Initial Account Volume that OpenWorks is obligated to
                       provide; and to clarify any remaining obligations of Open Works;

               (f)     Providing OpenWorks with (i) the names and residential addresses of the owners and the
                       officers or managers of any entity to whom a Transfer is being proposed, and their
                       relative percentages of ownership; and (ii) the address where the entity will keep its
                       business records;

               (g)     Payment of the Transfer fee of $2,000, or if only one or more (but not substantially all) of
                       your Accounts are being transferred, a Transfer fee of $50 for each transferred Account;

               (h)     Completion by the transferee's owners and Designated Manager of Open Works' initial
                       training program to its satisfaction, and payment of the $250 training fee to Open Works;

               (i)     Signing of a Non-Disclosure and Non-Competition Agreement substantially in the form
                       of Attachment 4 to this Agreement by each entity to whom a Transfer is made and each
                       of transferee's 5% owners, officers, directors, managers and other employees and
                       consultants, including, but not limited to, transferee's Designated Manager, that have or
                       may have access to Confidential Information;

              G)       Signing of a Personal Guaranty substantially in the form of Attachment 3 to this
                       Agreement by each 5% owner of the entity to whom a Transfer is made (and by each
                       such owner's spouse in a community property state);

              (k)      Signing of a general release of claims by you in favor of Open Works; and

              (1)      Offering Open Works a first right of refusal to acquire the assets and/or interests that are
                       subject to the Transfer, as provided in Section 9.6 of this Agreement.

     In no event will OpenWarks' consent to a Transfer of any of your interest or any of your assets constitute
     a waiver of claims OpenWorks may have against you or the individual transferring party, nor shall it be
     deemed a waiver ofOpenWorks' right to demand exact compliance with any terms of this Agreement by
     the transferee.

              9.5      Waivers of Some Conditions Upon Certain Types of Transfers.

                    9.5.1 Accounts. In the event of a Transfer of one or more (but not substantially all) of
     your Accounts, OpenWorks waives the requirements of parts (e), (f), (h), (i) and (i) of Section 9.4.

                     9.5.2 Incorporation. In the event of a Transfer to a transferee where the beneficial
     ownership of the transferee immediately following the assignment is the same and in the same
     proportions as the beneficial ownership of Franchisee immediately before the assignment, then provided
     that the original party remains fully obligated under this Agreement, Openworks waives all of the

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     requirements of parts (b), (c), (e), (h), (i) and (1) of Section 9.4. In lieu of part (g), the Transfer fee is
     $500. The legal entity to which the Janitorial Service or franchise rights were transferred may not
     participate in or undertake any business venture or activities other than operating the Janitorial Service.

                      9.5.3 Transfer of Partial Interest Between Co-Owners. In the event of a Transfer of
     a partial ownership interest in Franchisee to an existing co-owner, Openworks waives all of the
     requirements of parts (b), (c), (e), (g), (h), (i), U) and (1) of Section 9.4: except that if the co-owner who
     will be acquiring a greater ownership interest has not successfully completed OpenWorks' initial training
     program and will have a controlling interest or will be active in the business, then part (g) of Section 9.4
     must be satisfied.

                      9.5.4 Required Transfer. In connection with the Required Transfer, Openworks
     waives all of the requirements of parts (b), (e), (g), (h) and (1) of Section 9.4.

                       9.5.5 Transfer of Minority Interest to a Third Party. In the event of a Transfer of
     less than 50% of the ownership interests in the Janitorial Service business of Franchisee to anyone who
     does not already have an ownership interest in Franchisee, Open Works waives all of the requirements of
     parts (e), and (1) of Section 9.4. In lieu of part (g), the Transfer fee is $1,000.

                     9.5.6 Employee Stock Options. In the event of a Transfer to any of your employees
     under any employee stock option plan or stock purchase plan, then provided that the cumulative total
     amount of such actual and optional ownership interests does not exceed 33% of the current or the possible
     future ownership interests in your corporation, and that any share certificate distributed under such a plan
     is marked with a legend describing the restrictions and conditions of Transfer required by this Agreement,
     OpenWorks waives all of the requirements of parts (b), (c), (e), (f), (g), (h), (i), (j) and (I) of Section 9.4.

                        9.5.7 Death or Substantial Disability. If you die, or become substantially and
     permanently disabled (whether physically or mentally as reasonably determined by an independent,
     qualified third-party) while this Agreement is in effect and prior to the Required Transfer, your heirs or
     representative will have 60 days within which to demonstrate to OpenWorks' satisfaction that they meet
     all of the criteria of character, business experience, financial responsibility, net worth and other standards
     that Openworks requires of new franchisees at that time. If Openworks approves your heirs or
     representative as transferees, Openworks will waive the requirement of part (g) of Section 9.4. If
     OpenWorks advises your heirs or representative in writing that it will not approve them as transferees of
     the franchise, or if OpenWorks fails to approve or disapprove the Transfer within 60 days following your
     death or disability, your heirs or representative will have 120 additional days from the date of disapproval
     of the Transfer within which to find and notify OpenWorks of a proposed Transfer to a qualified
     transferee in confonnity with the provisions of Sections 9 .2, 2.:1, 9 .4 and 9 .5 of this Agreement. If your
     heirs or representative do not advise OpenWorks of a qualified transferee within the specified period, the
     franchise will automatically tenninate at the end of the period unless a written extension of time has been
     granted by OpenWorks.

              9.6     Openworks' Right of First Refusal. Except as otherwise provided in Section 9.5
     above, if you wish to make a Transfer, you must first give Open Works ½Titten notice of all the terms of
     the proposed Transfer, which must be a bona fide offer from a bona fide source, and all available
     infonnation about the proposed transferee, together with copies of all documentation including any
     written offer. Within 15 days after receipt of the notice and documentation, OpenWorks may, at its
     option, elect to become (or have its nominee become) the transferee. The exercise of the option shall be
     upon the terms specified in the notice and documents, subject to a set off for all amounts you and your
     Affiliates owe to Open Works. If Open Works declines to exercise its option within the time specified. you
     may thereafter make the Transfer to an approved transferee (but not on more favorable terms that those
     offered to OpenWorks) provided that all of the requirements of Section 9.4 (subject to the waivers
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     provided for in Section 9.5) are satisfied. If the Transfer is not made within six months from the date of
     the notice to Open Works, then you must give OpenWorks another notice and option as provided in this
     Section 9.6 before you make any Transfer.

              9.7    Assignment by Openworks. Openworks may assign this Agreement or any rights or
     obligations created by it, in whole or in part, at any time to any third-party, including without limitation.,
     to any of your competitors or an OpenWorks master franchisee who will have exclusive rights to
     administer the OpenWorks Cleaning Systems regional office for your franchised business. Such an
     assignment may be made without your consent upon condition that the assignee expressly agrees in
     writing to assume OpenWorks' obligations under this Agreement.

             9.8      Legend. Any certificates representing shares or interests in Franchisee, whether already
     or hereafter issued by Franchisee, shall, from and after the date hereof, bear a legend sufficient under
     applicable law to constitute notice of the restrictions on such shares or interest contained in this
     Agreement and to allow such restrictions to be enforceable. Such legend shall appear in substantially the
     following form:

               "The sale, transfer, pledge or hypothecation of [this stock/these interests/these units] is
               restricted pursuant to Article 9 of a Franchise Agreement dated 09/12/2016 between
               Open Works and the issuer of these securities."                       F   '




     10.      TERMINATION OF FRANCIDSE.

             10.1   Termination by Consent of the Parties. This Agreement may be terminated at any time
     upon the mutual written consent of the panies.

             10.2     Termination by Openworks. In addition to Openworks' rights to terminate this
     Agreement as provided elsewhere in this Agreement, Openworks may terminate this Agreement as
     provided in this Section 10.2.

                       10.2.1 Acts of Default. Upon the single occurrence of any one of the following
     defaults by you or your Affiliates and after notice and an opportunity to cure (as provided in Section
     10.2.2), if any, OpenWorks, at its option, may tenninate this Agreement:

              (a)      If you or any of your owners or Affiliates has any direct or indirect interest in the
                       ownership or operation of any business that provides commercial janitorial or other
                       facility services to customers;

              (b)      If you or your Affiliates fail to submit to OpenWorks in a timely manner any information
                       you are required to submit under this Agreement;

              (c)      If you or your Affiliates fail to begin operation of a Janitorial Service by the date required
                       in this Agreement, or if you fail to operate a Janitorial Service in accordance with this
                       Agreement and the Manual;

              ( d)     If you or your Affiliates act without prior written approval or consent of Open Works in
                       regard to a matter for which its prior written approval or consent is expressly required by
                       this Agreement;

              ( e)     If you or your Affiliates default in the performance of any material obligation under this
                       Agreement or any other agreement with Open Works;


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               (f)     If you or your Affiliates are not actively engaged in providing the Janitorial Service,
                       unless: (i) operations are suspended for a period of no more than three months and you
                       have paid the Minimum Account Service Fee due under Section 6.14. or (ii) the
                       suspension was caused by fire, condemnation, or act of God;

               (g)     If you or your Affiliates misuse the Trade Names, Marks or the System or engage in
                       conduct which reflects materially and unfavorably upon the goodwill associated with
                       them, or if you use any names, marks. systems, logotypes or symbols that OpenWorks
                       has not authorized you to use in connection with your Janitorial Service;

               (h)     If you or your Affiliates have made any material misrepresentation in connection with the
                       assignment of an Account, or to induce Open Works to enter into this Agreement;

               (i)     If you or your Affiliates fail to permanently correct a breach of this Agreement or to meet
                       the standards set out in the Manual after being twice requested in writing by Open Works
                       to correct the problem in any 12 month period;

               G)      If Openworks makes a reasonable detennination that the operation of the Janitorial
                       Service poses a threat to public health or safety;

               (k)     If you or your Affiliates fail to make any payment when due under this Agreement or any
                       other agreement between you and OpenWorks or an Affiliate of Open Works;

               (1)     Except as otherwise required by the United States Bankruptcy Code, if you become
                       insolvent, are adjudicated as bankrupt, or file or have filed against you a petition in
                       bankruptcy, reorganization or similar proceeding;

               (m)     If you or your Affiliates attempt to assign your rights under this Agreement in any
                       manner not authorized by this Agreement;

               (n)     If you or your Affiliates are convicted of a felony or any criminal misconduct or offense
                       (even if not a crime) that is reasonably likely, in the sole opinion of OpenWorks, to have
                       a material adverse effect to the System, the Trade names or the Marks, or the goodwill
                       associated with any of the foregoing;

              ( o)     If you or your Affiliates commit any of the defaults described above and have twice
                       previously, within a 12-month period, been given notice by OpenWorks of the same type
                       of default, whether or not the prior defaults were cured;

              (p)      If you or your Affiliates have taken such action that would permit Openworks to
                       terminate your right to service an Account under paragraphs (a) through (i) inclusive of
                       Section 7.2.5. of this Agreement;

              (q)      If you fail to maintain policies of workers compensation insurance required in Section
                       1,1, disability insurance or any other types of insurance required by law; or

              (r)      If you or your Affiliates willfully make or have made any material false statement or
                       report to Openworks or its Affiliates in connection with this Agreement, any other
                       agreement between you and Open W arks or its Affiliates, or any applications presented to
                       OpenWorks or its Affiliates that has a material adverse effect on Openworks, its
                       Affiliates or the System.


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                       10.2.2 Notice of Default. Termination will be effective automatically 30 days after
      written notice of default is given to you, specifying any of the defaults described in subsections (b)
      through (j) inclusive of Section 10.2.1, if the default has not been cured within the 30-day period. For a
      monetary default described in subsection (k), termination will be effective automatically five days after
      written notice specifying amounts due to OpenWorks is given to you. if the default is not cured within the
      5-day period. Termination will be effective immediately upon written notice to you if any of the defaults
      described above in subsections (a) or (I) through (r) inclusive occurs.

              10.3  Termination by You. You may terminate this Agreement upon 90 days' written notice
     to Open Works if the conditions of Section 10.4 of this Agreement are met in full within the specified time
     periods.

              10.4    Rights and Obligations Mter Termination. Upon the Termination of this Agreement
     by either party for any reason, all of your Accounts shall automatically revert to OpenWorks and the
     parties will have the following rights and obligations:

               (a)     Openworks will have no further obligations under this Agreement except to settle up
                       with you with respect to payments due and owed prior to the Termination under Section
                       5.4 and Article 6 of this Agreement;

               (b)     You must pay OpenWorks, within 30 days after Tennination, all payments due to
                       Openworks;

               (c)     You must immediately and permanently cease the use of the Trade Names and Marks or
                       any confusingly similar names or marks, the System, and advertising, signs, stationery
                       and forms that bear identifying marks or colors that might give others the impression that
                       you are associated with the System;

               (d)     You must immediately deliver to OpenWorks the Manual, all Accounts' keys, security
                       codes and cards, and any other proprietary material belonging to OpenWorks or any
                       Account which is in your possession or the possession of your employees and otherwise
                       comply with Section 8.5.4;

              (e)      You must immediately provide Open Works with a list of all Accounts and customers and
                       facilities you or your Affiliates are servicing or had serviced at any date during the 12
                       months preceding the date of Termination;

              (t)      You must assign to Open Works or its designee any Accounts obtained by you that do not
                       have an existing Maintenance Agreement with OpenWorks;

              (g)      You will take such action as may be required by Open Works to transfer and assign to
                       Open Works or its designee or to disconnect and forward all telephone numbers, white
                       and yellow page telephone references and advertisements, and all trade and similar name
                       registrations and business licenses, and to cancel any interest that Franchisee may have in
                       the same; and

              (h)      You must, without any consideration, cancel or assign to Openworks all right, title and
                       interest in any Internet and web site home pages, domain name listings, and registration
                       that contain the Trade Names or Marks, or any of them, in whole or in part, and shall
                       notify the applicable domain name registrars and all listing agencies, upon the
                       termination or expiration hereof, of the termination of your right to use any domain name,


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                       web page and other Internet device associated with Open Works, and authorize and
                       instruct their cancellation or transfer to Open Works, as directed by OpenWorks.

              If the franchise granted in this Agreement is terminated because of your default, the rights of
     OpenWorks described above will not necessarily be its exclusive remedies, but will instead supplement
     any other equitable or legal remedies available to Open Works. If this Agreement is terminated because of
     your material default, nothing in this Section will be construed to deprive Open Works of the right to
     recover damages as compensation for lost profits. Termination of this Agreement will not extinguish any
     obligation of either party that has accrued prior to Termination. All obligations of the parties, which by
     their terms or by reasonable implication are to be performed in whole or in part after Termination, will
     survive Termination.

     11.       MISCELLANEOUS PROVISIONS.

               11.1    Construction of Contract. Section headings in this Agreement are for reference
     purposes only and will not in any way modify the statements contained in any Section of this Agreement.
     Each word in this Agreement will be deemed to include any number or gender that the context requires.
     If there is any conflict between this Agreement and the Manual, this Agreement will control.

              11.2    Governing Law. Except for matters relating solely to Sections 8.4, 8.6, 8.7 and 8.8 and
     Attachment 4 of this Agreement, which are governed by the Im.vs of the state in which the Territory is
     located and except to the extent governed by the United States Trademark Act of 1946 (Lanham Act, 15
     U.S.C. § 1051 et seq), this Agreement and all matters relating to it, shall be governed by and interpreted
     by the laws of the State of Arizona; provided, however, that if any of the provisions of this Agreement
     would not be enforceable under the laws of Arizona, then such provisions shall be governed by the laws
     of the state in which the Territory is located; and provided further that the Franchise Disclosure
     Document delivered to you contains a State Law Addendum, which is hereby incorporated into this
     Agreement, referencing and swnmarizing certain existing local laws of other jurisdictions, and the
     application of Arizona law shall not abrogate or reduce any of your rights provided for under such
     existing local laws which by their terms apply and supersede Arizona law (unless local law conflicts with
     federal law and is preempted).

             11.3    Notices. Each party to this Agreement shall direct any notice to the other party to the
     address in Article 1 of this Agreement, or at another address if advised in writing that the address has
     been changed. Notice may be delivered by facsimile (with simultaneous posting of a copy by first class
     mail), commercial courier, or first class mail. Notice by facsimile will be deemed delivered upon
     transmission; by courier, upon delivery; and by first class mail, three days after posting.

              11.4    Amendments. This Agreement may be amended only by a document signed by all of the
     parties to this Agreement or by their authorized agents.

            11.5    Waiver. Waiver of any breach of this Agreement will not be interpreted as a waiver of
     any subsequent breach.

              11.6    Integration. This Agreement, any exhibits or anachments to it, and the Franchise
     Disclosure Document that has been provided to you, constitute the entire agreement between the parties
     concerning the franchise granted under this Agreement, and supersede all prior and contemporaneous
     agreements and representations concerning the subject matter hereof; provided, however, that nothing
     herein is intended to disclaim the representations made in the Franchise Disclosure Document furnished
     to you.



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              11. 7   Modification. The parties to this Agreement recognize that carrying out the overarching
     purpose of this Agreement, the creating of an effective, up-to-date, competitive consumer-oriented
     System under Openworks' name and Marks, and enhancing the potential value of that System for both
     OpenWorks and franchise owners as a group, requires flexibility in establishing and modifying standards
     for performance and operation under this Agreement, and may involve OpenWorks' development of other
     business activities not encompassed by the terms of this Agreement, taking particular account of the fact
     that business conditions and other circumstances are likely to change during the stated term of this
     agreement. The parties have addressed the prospect for such developments by the express provisions of
     this Agreement, including in particular, the provisions hereof defining the nature and scope of this
     Agreement and your obligation to observe the requirements of Open Works' Manual as it may, from time
     to time, be amended by OpenWorks to address efforts to maintain the long-term viability of Open Works'
     name, trademarks and other intellectual property rights, and/or its overall franchised System, among other
     things. No provision of this Agreement is to be read as creating a limitation on the right of OpenWorks to
     take such action except as the provision clearly and expressly establishes such a limitation.

               11.8    Arbitration. Any dispute or claim (a "Claim") arising out of or in connection with this
      Agreement shall be resolved by arbitration; provided, however, that Openworks shall not be required to
      arbitrate any Claim with respect to the ownership or use of its Trade Names or Marks, all of which issues
      will be submitted to a court within the State of Arizona. The parties expressly consent to personal
     jurisdiction in the State where our principal place of business is located, currently the State of Arizona
      and agree that the state and federal court(s) will have exclusive jurisdiction over any such issues not
      subject to arbitration. The arbitration shall be held where our principal place of business is located,
      currently the City of Phoenix, Arizona, governed by the United States Arbitration Act, 9 U.S.C. §§ 1-16,
      and conducted by one or more independent arbitrators who are experienced in franchise matters and have
     no past or present relationship with either party, appointed as set forth in this Section 11.7. This
     arbitration clause will not deprive either party of any right it may otherwise have to seek provisional
     injunctive relief from a court of competent jurisdiction. If there is any question as to whether a Claim is
     subject to arbitration, then the decider of the first open action shall decide this issue such that if an
     arbitration was the first action to have been filed, the arbitrator shall make such determination and if a
     party has first sought provisional injunctive relief from a court of competent jurisdiction, then that court
     shall decide if a claim is subject to arbitration. If proper notice of any hearing has been given, the
     arbitrator will have full power to proceed to take evidence or to perform any other acts necessary to
     arbitrate the matter in the absence of any party who fails to appear. Any Claims shall be decided on an
     individual and not a class-wide basis. You waive any rights you may have to demand trial by jury or to
     seek punitive damages from OpenWorks or its Affiliates. The arbitrator will have no power to (i) stay the
     effectiveness of any pending Termination of this Agreement; (ii) assess punitive damages; or (iii) make
     any award that modifies or suspends any lawful provision of this Agreement. All expenses of arbitration
     must be paid by the party against whom the arbitrator renders a decision. The award made by the
     arbitrator shall be final, binding and conclusive on all parties to the arbitration for all purposes. Judgment
     upon any award and/or enforcing any order of the arbitrator may be entered by any court of competent
     jurisdiction.

                      11.8.1 Initiation of Arbitration. In order to initiate an arbitration hereunder, the party
     wishing to make a Claim (the "Initiator") shall give a written notice of demand for arbitration hereunder
     (the "Initial Notice") to the other party (the "Respondent").

                       11.8.2 Initial Notice. To be valid, the Initial Notice must include the following: (i) a
     statement of the Claim; (ii) a proposed resolution ("Initial Resolution") of the Claim; (iii) the address
     and phone and facsimile numbers of the Initiator; (iv) the date of the Initial Notice; and (v) the signature
     of the Initiator. The Initial Notice may include other matters as shall be deemed appropriate by the
     Initiator, but it may not contain any conditions to the effectiveness of the Initial Notice nor any other
     matter which affects the validity of the Initial Notice.
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                      11.8.3 The Response. The Respondent is bound to respond to the Initial Notice in
     writing within 30 days of the Initial Notice (the "Response") or suffer the consequences, as hereinafter
     defined. If the Respondent fails to timely respond with a valid Response, the Initial Resolution shall
     become effective as an arbitration award hereunder. A valid Response must contain the following: (i) A
     statement of the Response, including the factual disputes with the Initial Notice, and other facts
     supporting the Respondent's position; (ii) a proposed resolution ("Second Resolution") of the Claim,
     such as alternative amounts of payment or damages or alternative resolutions of the claim; (iii) the
     address and phone and facsimile numbers of the Respondent; (iv) the date of the Response; and (v) the
     signature of the Respondent. The Response may include other matters as shall be deemed appropriate by
     the Respondent, including claims of the Respondent, but it may not contain any conditions to the
     effectiveness of the Response nor any other matter which affects the validity of the Response. If the
     Respondent fails to timely give a valid Response, as provided above, or if the Respondent gives a notice
     of acceptance of the Initial Resolution, the arbitrator shall enter the award adopting the Initial Resolution.

                       11.8.4 Designation of Arbitrator. The Claim shall be decided by a single arbitrator
     determined as follows: Open Works shall propose 3 candidates to you and you must choose the arbitrator
     within 10 days after the date of OpenWorks' proposal. Upon determination, the arbitrator shall
     commence the arbitration process. The arbitrator shall make an award of the Initial Resolution or the
     Second Resolution or such other award as the arbitrator decides is just under the facts and applicable law,
     subject to the terms of this Agreement.

                     11.8.5 Counterclaim.       The Respondent may include a "Counterclaim" in the
     Response. If the Respondent makes a Counterclaim, the Initiator shall be obligated to respond in the
     same time and in the same fashion as required of the Respondent.

                       11.8.6 Discovery. We both agree that, in any arbitration arising as described in this
     Section, requests for documents shall be limited to documents (including electronic documents) that are
     directly relevant to significant issues in the case or to the case's outcome, shall be restricted in terms of
     time frame, subject matter and persons or entities to which the requests pertain, and shall not include
     broad phraseology such as "all documents directly or indirectly related to." For electronic document
     discovery requests, we both agree that: ( a) The production of electronic documents will be made on the
     basis of generally available technology in a searchable format which is convenient and economical for the
     party producing the documents and also usable by the party receiving the documents, (b) Unless there is a
     showing of compelling need, as detennined by the arbitrator, the parties are not required to produce
     metadata, with the exception that the header fields of email correspondence may be produced; (c)
     Production of electronic documents need only be from sources used in the ordinary course of business.
     No documents shall be required to be produced from back-up servers, tapes or other media; (d) Only
     individuals whose electronic documents are reasonably expected to contain evidence that is material to
     the dispute shall be named as custodians and requested to provide such electronic documents; and (e)
     When the costs and burdens of electronic discovery are disproportionate to the nature of the dispute or to
     the amount in controversy, or to the relevance of the materials requested, the arbitrator shall either deny
     such requests or order disclosure on the condition that the requesting party advance the reasonable cost of
     production to the providing side. Such production costs may be part of the allocation of the costs in the
     final arbitration award.

             11.9    Injunctive Remedy for Breach. You recognize that you are a member of a Franchise
     Network and that your acts and omissions may have a positive or negative effect on the success of other
     businesses operating under OpenWorks' Trade Names and in substantial association with its Marks.
     Your failure to comply with the terms of this Agreement is likely to cause irreparable damage to
     OpenWorks and to some or all of the other franchisees of Open Works. For this reason, you agree that if
     OpenWorks can demonstrate to a court of competent jurisdiction that there is a substantial likelihood of a
     breach or threatened breach of any of the terms of this Agreement by you, Open Works will be entitled,
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     without posting a bond, to a temporary restraining order or preliminary injunction enjoining the breach
     and/or to a decree of specific performance, without showing or proving any actual damage, until a final
     determination is made by an arbitrator. Any question on whether a dispute or claim is subject to an
     injunctive remedy shall be determined as stated in Section 11.8 above.

             11.10 Limitation of Actions. No action or arbitration proceeding may be maintained by you
     against Openworks unless (a) written notice of any claim alleged to exist is delivered by you to
     Open Works within 1 year after the event complained of becomes known to you and (b) an arbitration
     proceeding is commenced by you within 90 days after such notice.

               11.11 Attorneys' Fees and Costs. Iflegal action, including any action on appeal, or arbitration
     is initiated to enforce the terms and conditions of this Agreement, the prevailing party will be entitled to
     recover reasonable compensation for preparation, investigation and court and/or arbitration costs
     (including but not limited to, expert witness fees, hearing transcription fees, arbitration fees, arbitrator's
     compensation, copying costs, delivery expenses and charges) and reasonable attorneys' fees, as fixed by a
     court of competent jurisdiction or by the arbitrator.

              11.12 Severability. Each provision of this Agreement will be considered severable. If, for any
     reason, any provision is determined to be invalid or in conflict with any existing or future law or
     regulation, that provision will not impair the operation of the remaining provisions of this Agreement.
     The invalid provisions will be deemed not to be a part of this Agreement. However, if OpenWorks
     determines that the finding of illegality adversely affects the basic consideration for its performance under
     this Agreement, OpenWorks may, at its option, terminate it.

               11.13 Approval and Guarantees. If you are a corporation, all officers and shareholders with a
     5% or greater interest in you, or if you are a partnership, all your general partners, or if you are a limited
     liability company, all your managers and managing members and all members with a 5% or greater
     interest in you and in each of the foregoing cases, the spouses of each person, must approve this
     Agreement, permit you to furnish the financial infonnation required by Openworks, and agree to the
     restrictions placed on them, including restrictions on the transferability of their interests in the franchise
     and Janitorial Service and limitations on their rights to compete, and sign separately written guarantees of
     your and their payments and performance in the form of Attachment 3 to this Agreement. Your spouse (if
     you are an individual who has not yet completed the Required Transfer), or the spouse(s) of an owner of a
     5% or greater interest in Franchisee, must sign the spousal consent in the fonn of Attachment 6 to this
     Agreement.

             11.14 Acceptance by OpenWorks. This Agreement will not be binding on OpenWorks unless
     and until it has been signed by an authorized officer of OpenWorks.

              11.15 Indulgences, Not Waivers. Neither the failure nor any delay on the part of either party
     to exercise any right, remedy, power or privilege under this Agreement shall operate as a waiver thereof,
     nor shall any single or partial exercise of any right, remedy, power or privilege preclude any other or
     further exercise of the same or of any other right, remedy, power or privilege, nor shall any waiver of any
     right, remedy, power or privilege with respect to any occurrence be construed as a waiver of such right,
     remedy, power or privilege with respect to any other occurrence.

             11.16 Execution in Counterparts. This Agreement may be executed in any number of
     counterparts, each of which shall be deemed to be an original as against any party whose signature
     appears thereon, and all of which shall together constitute one and the same instrument. This Agreement
     shall become binding when one or more counterparts hereof, individually or taken together, shall bear the
     signatures of the parties reflected hereon as the signatories. Any photographic or xerographic copy of this
     Agreement, with all signatures reproduced on one or more sets of signature pages, shall be considered for
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                                                                                       Unit Janitorial Franchise Agreement




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     all purposes as if it were an executed counterpart of this Agreement. Signatures may be given by
     facsimile or other electronic transmission, and such signatures shall be fully binding on the party sending
     the same.

                11.17    Time of Essence. Time is of the essence of this Agreement.

              11.18 Franchisor Limited Liability. You agree that there shall be no liability on the part of
     Open Works to you or any other person by reason of any approval given or withheld by Open Works to
     you or by reason of your complying with the Standards and Policies and requirements of Open Works or
     the provisions of this Agreement. Open Works shall not be liable to you if you adopt any suggestions or
     requirements of Open Works, or if OpenWorks delays or fails to furnish any approval, or if OpenWorks
     provides to mortgagee(s) or lender(s) (actual or prospective) at its or your request, information regarding
     the status of the Agreement and/or your obligations hereunder. OpenWorks is not obligated for any
     reason to do any act or to furnish anything to you except as expressly set forth in this Agreement, and you
     acknowledge that OpenWorks is not required to provide services that produce any particular level of
     results.




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                                                                                       Unit Janitorial Franchise Agreement




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               11.19   Disclaimer of Representations.

               YOU HEREBY REPRESE~T AND WARRANT TO OPENWORKS THAT:

               NO REPRESENTATIONS OR PROMISES OF ANY KIND HAVE BEEN MADE BY
               OPENWORKS TO INDUCE YOU TO SIGN THIS AGREEME).JT EXCEPT THOSE
               SPECIFICALLY SET FORTH IN THIS AGREEMENT AND IN TIIE UNIFORM FRANCHISE
               DISCLOSURE DOCUMENT THAT HAS BEEN DELIVERED TO YOU.      Initia~

               YOU ACK."\TOWLEDGE THAT NEITIIER OPENWORKS NOR ANY OTHER PERSON HAS
               GUARANTEED THAT YOU WILL SUCCEED IN THE OPERATION OF THE FRANCHISED
               BUSINESS OR HAS PROVIDED ANY SALES OR INCOME PROJECTIONS OF ANY KIND
               TO YOU EXCEPT AS STATED IN THE UNIFORM FRANCHISE DISCLOSURE DOCUMENT
               PROVIDED TO YOU.   Initi~

               YOU HAVE MADE AN Il\rTIEPENDE).JT ~Sp:GATION OF ALL IMPORTANT ASPECTS
               OF THE FRANCHISED BUSINESS. I n i t i ~

               YOU UNDERSTAND THAT OPENWORKS IS NOT A FIDUCV\RY AND HAS NO SPECIAL
               RESPONSIBILITIES TO YOU BEYOND THE NORMAL RESPONSIBILITIES OF A SELLER
               IN A BUSil\r'ESS TRANSACTION. Initial~

               YOU UNDERSTAND AND ACK.~UWLEDGE THAT TIIE BUSINESS CONTEMPLATED BY
               THIS AGREEMENT AND THE UNIFORM FRANCHISE DISCLOSURE DOCUMENT
               PROVIDED TO YOU INVOLVES BUSINESS RISKS MAKING THE SUCCESS OF THE
               VENTURE LARGELY DEPENDENT UPON YOUR BUSINESS ACUMEN AND ABILITIES,
               YOUR ACTIVE PARTICIPATIOU~ YOL'R. EFFORTS AS AN INDEPENDENT
               BUSINESS OPERATOR  Initial

               YOU ACKNOWLEDGE THAT OPENWORKS OR ITS AGENT IL.\S PROVIDED YOU WITH
               A UNIFORM FRANCHISE DISCLOSURE DOCUMENT 14 CALENDAR DAYS BEFORE
               THE EXECUTION OF THIS AGREEMENT OR PAYMENT OF ANY CONSIDERATION.
               YOU FURTHER ACK.-r-..JOWLEDGE THAT YOU HAVE READ SUCH UNIFORM
               FRANCJiiISp DISCLOSURE DOCL""MENT AND UNDERSTAND ITS CONTENTS.
               Initial~

               YOU ACKNOWLEDGE lHAT OPENWORKS OR ITS AGENT HAS PROVIDED YOU WITH
               A COPY OF THIS AGREEMENT AND ALL RELATED DOCUMENTS, FULLY
               co~~, AT LEAST FIVE BUSINESS DAYS PRIOR TO YOUR EXECUTION HEREOF.
               Initia:- .

               YOU ACKNOWLEDGE THAT YOU HAVE HAD AMPLE OPPORTUNITY TO CONSULT
               WITH YOUR O\VN ATTORNEYS, ACCOUNTANTS AND ADVISORS AND THAT
               OPENWORKS' ATTOR."\ffiYS IM. VE NOT ADVISED OR REPRESENTED YOU WITH
               RES~?O THIS AGREEMENT OR THE RELATIONSHIP CREATED HEREBY.
               Initi




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                                                                      Unit Janitorial Franchise Agreement




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             IN WITNESS TO THE PROVISIONS OF THIS FRANCHISE AGREEMENT, the undersigned
     have signed this Franchise Agreement on the date set forth in Article I.


                                                         FRANCHISEE:


                                                          Entity Name:_~~~--l\_\_cr_,_}_::.._ _ _ __
                                                          Signature: _ _- - ' - ' ' - ' - - + - i . : : . . - - - - - - - - - -
                                                          Printed Name: RI 1TH MARK
                                                          Title: FRANCHISE OWNER


                                                         Name:_Q~"'-=·~ti~\__J\_\_c_,_r'f~-,_______

                                                         Sign: __~~·
                                                                  ~·',=--------------


                                                         Name: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                         Sign: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




     The above Franchise Agreement was executed on the date stated above. by the above named parties and
     in my presence as a witness.

  ~~( l-,____                                          residing a~(\'-{.:e             ✓                    Cc)
                        Name                                          City                                  State




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                                              ATTACHMENT 1



                                               Current
      Business Starter Packages



      Included in the Franchise Packages




                        From time to time, OpenWorks may substitute different
                        brand names or change the exact specifications of the
                        supplies and equipment provided to you in your starter kit.
                        Any substitutions will be at equal or greater value and/or
                        quality.




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                                                                              Unit Janitorial Franchise Agreement




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                                  Starter Kit Equipment and Chemical Supplies

                                               DESCRIPTION                         U/M    QTY

                        Enzymatic Luster Creme Cleanser Pumice                      QT
                        Scouring Stick                                              cs
                       60" Wood Thread Handle                                       ::A
                       Toy Corn Broom                                               ::A
                        Little Dipper Bowl Mop                                      =.A
                       #360 Flex Lambswool 33-60' Duster                            EA
                        12" Plastic Dust Pan                                        EA
                        12" Brass Channel with Rubber                               EA
                       4203 1 !/,'' Hard Putty Knife                                EA
                       8', 2 section, Extension Handle                              EA
                       W#63 nylon scrubbing pad with sponge backing. 20/cs          cs
                       20" Floor Machine                                            EA
                       20" 1500 RPM Burnisher with Pad Driver                       EA
                       8 gl Wei/Dry Vacuum                                          EA
                       ProTeam Super Coach Vac HEPA with Tool K"rt                  EA      1
                       Super Loop Wet Mop                                           EA      2
                       Super Finish Mop                                             EA
                       84 Fiberglass & Speed ChangeHandle                           EA      2
                       #324 Big Mo Dust Mop Head                                    EA
                       #324F Big Mo Frame                                           EA
                       60" Wood Snap-on Handle                                      EA
                       18" Biue Microfiber Looped Wet Mop Pad                       EA
                       18" Red Microfiber Looped Wet Mop Pad                        EA
                       Wave Brake nd Side Press Combo                               EA
                       Yellow 25" Caution Wet Floor Sign                            EA
                       Round Brute Dolly, 2640, Fits 20-55 gal Brutes. Black        EA
                       Yellow Wrap Around CaddyBag                                  EA
                       Grey 44 GL Round Brute Can                                   EA
                       Blue Microfiber TerryCloths                                  DZ
                       Yellow Microfiber Terry Cloths                               DZ
                       Red Microfiber Terry Cloths                                  DZ
                       Green Microfiber TenyCloths                                  DZ
                       8448 Gloves, Yellow. Medium {8-8.5)                          DZ
                       7321 SafetyGoggles                                           EA
                       Trigger Sprayer                                              EA      4
                       32-oz Plastic Bottle                                         EA      4
                       Pump Dispenser                                               EA      1
                       Emergency Clean-Up Kit                                       BX
                       20" Black Strip Pads, 5/cs                                   cs
                       20" Red Buff Pads, Sics                                      cs
                       3M 20" Pink Eraser FloorPads                                 cs
                       BRUTEBUCKET-ROUND-10QT-GRAY                                  EA
                       20" Perma Grip Pad Holder with brush plate                   EA
                       Fast Glide 18" Mopping System                                EA
                       BUCKETLESS HANDLE 32 OZ REPLACEMENT BOTTLES                  EA
                       Round Shaped Bowl Brush                                      EA
                       SMARTDOSE STRIDE CITRUS HC NEUTRAL GP CLEANER 2X1 .4L        cs
                       SMARTDOSE PER DIEM GENERAL PURPOSE CLEANER 2X1 .A.L          cs
                       Crew NA Non Acid Bath Disinfectant SmartDose 2x1 .4          cs
                       Diversey Virex II 256 One-Step Disinfectant Cleaner 1.4L     cs
                       Diversey Glance NA Glass Cleaner 1.4L SD                     cs
                       Green CleanerOegreaser                                       GL      2




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     2387195.2 03il6                                                              INT~£k           I INT_ _
                                                                                  Umt Janitorial Franchise Agreement




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                                                      ATTACHMENT 2

                                                                TERMS


                                      10%                              .QP~ORKS FINANCING PROGRAMS
              Initial
                                   . Discount      STANDARD PROGRAM                                VETERANS PROGRAM
             MonthJy     Franchise
Package                              ForCash
             Account        Fee                                                          10%       Amount
                                        or        i>ewn         Amount . . Monthly                               Amount              Monthly
             Volume                                                                   Discounted   ofDown
                                     Veterans   :Payment        Fin;inced Payment                                Financed            Payment
                                                                                          F~       Pavment
  OW3           3,000       15,200      1,520       7,000          8,200 :   386.00       13,680       7,000           6,680            314.45
  ows           5,000       18,500      1,850       9,000          9,500     447.20       16,650       9,000           7,650            360.11
  OW7           7,000       24,850      2,485      14,850         10,000 .   470.33       22,365      12,425           7,515            353.76
 OWIO          10,000       33,000      3,300      23,000         10,000     470.33       29,700      16,500           6,700            315.39
 ow 15,        15,000       45,000      4,500      35,000         10,000     470.73       40,500      35,000           5,000            258.90
 OW20;         20,000       58,500      5,850      48,500         10,000     470.73       52,650      48,600           4,150            195.35
 OW25 •        25,000       72,000      7,200      62,000         10,000     470.73       64,800      62,000           2,800            131.81



          Your selected package: ~C
                                  ...W~--3~--------
          Standard Program [K] or Veteran's Program         D
          Discount: Applicable D       Not Applicable Kl

          If you elected to purchase additional account volume more than the OW 10 package, the following apply:
              • Initial Account Monthly Volume_ _ _ _ _ _ __
              • Initial franchisee fee:
              • Down payment:
                                        ------------
              • Amount Financed:
                                   --------------
                                      -------------
              • Monthly Payment:
              • Fulfillment Period:
                                      -------------
                                       -------------

      Pre-Existing Accounts. You have the following pre-existing accounts to provide commercial janitorial
      or other facility services to the following customers which will be converted to OpenWorks accounts,
      according to Section 7.5 of this Agreement:




      Signature:        --~-i'l~~--------

      Date: 09/12/2016




                                                 ATTACIBvlliNT 2, PAGE 1
      2622019 .2 03/16                                                                        IN~'-7 IINT_ __
                                                                                               Unit Janitorial Franchise Agreement




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                                                   ATTACHMENT 3

                                               PERSONAL GUARANTY

              I. In consideration of, and in order to induce O.P.E.N. America, Inc. ("Open Works") to enter into a
     franchise agreement as of even date with this Guaranty (the "Agreement"), each of the undersigned
     ("Guarantor"), jointly and severally, unconditionally guarantees to OpenWorks that the Franchisee will fully,
     promptly and faithfully perform and discharge all of its obligations, duties and conditions under the Agreement,
     and under any and all instruments, documents or other evidence of indebtedness, executed in connection with the
     Agreement and all related obligations and undertakings, including obligations of payment when due, whether by
     acceleration or otherwise, of any and all liability of Franchisee or its Affiliates or to Openworks (the
     "Guaranteed Obligations"), together with all interest upon these liabilities and all attorneys' fees, costs and
     expenses of collection incurred by Open Works in enforcing any of these liabilities.

              2. OpenWorks, its successors and assigns, may from time to time, without notice to the undersigned
     (a) resort to the undersigned for payment or satisfaction of any of the Guaranteed Obligations of Franchisee,
     whether or not it or its successors have resorted to any property securing any of the Guaranteed Obligations or
     proceeded against any other of the undersigned or any party or parties or primarily or secondarily liable on any
     of the Guaranteed Obligations, (b) release or compromise any liability of any of the undersigned hereunder or
     any liability of any party or parties primarily or secondarily liable on any of the Guaranteed Obligations, and
     (c) extend, renew or credit any of the Guaranteed Obligations for any period (whether or not longer than the
     original period); alter, amend or exchange any of the Guaranteed Obligations; or give any other form of
     indulgence, whether under the Agreement or not.

              3. Each of the undersigned agrees to comply with and abide by the restrictive covenants and
     nondisclosure provisions contained in Sections 8.5, 8.6 and 8.7 of the Agreement, as well as the provisions in
     the Agreement relating to the Marks and Transfers, to the same extent as and for the same period of time as
     Franchisee is required to comply with and abide by such covenants and provisions, except to the extent
     otherwise required by the Agreement. These obligations of the undersigned shall survive any expiration or
     termination of the Agreement or this Guaranty. This Guaranty will remain effective despite any renewal,
     modification, or waiver by Open Works of any of the Guaranteed Obligations under this Guaranty, and no such
     modification, renewal or waiver will operate to defeat this Guaranty.

             4. This Guaranty is a continuing one and all liabilities to which it applies or may apply under the
     terms of this Guaranty will be conclusively presumed to have been created in reliance on it.

              5. Any and all rights and claims of Franchisee or Guarantor or any of their respective property,
     arising by reason of any payment by the undersigned to OpenWorks under the provisions of this Guaranty, will
     be subordinate and subject in right of payment to the prior payment in full of all liabilities of Franchisee or
     Guarantor to Open Works.

              6. Guarantor waives the right of trial by jury in the event of any litigation between the parties to this
     Guaranty in respect of any matter arising under this Guaranty and agrees that, should OpenWorks bring any
     judicial proceeding or arbitration in relation to any such matter, Guarantor will not interpose any counterclaim
     or set off of any nature.

              7. Each of the undersigned further waives presentment, demand, notice of dishonor, protest,
     nonpayment and all other notices whatsoever, including without limitation: notice of acceptance hereof; notice
     of all contracts and commitments; notice of the existence or creation of any liabilities under this Guaranty and
     the Agreement and of the amount and terms thereof; and notice of all defaults, disputes or controversies
     between Franchisee and OpenWorks resulting from such Guaranty or Agreement or otherwise, and the
     settlement, compromise or adjustment thereof.




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                                                                                           Unit Janitorial Franchise Agreement




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              8. The undersigned agrees to pay all expenses paid or incurred by OpenWodes in enforcing the
     Agreement and this Guaranty against Franchisee and against the undersigned and in collecting or attempting to
     collect any amounts due thereunder and hereunder, including reasonable attorneys' fees and costs if such
     enforcement or collection is by or through an attorney-at-law. Any waiver, extension of time or other
     indulgence granted from time to time by Open Works, its agents, its successors or assigns, with respect to the
     Agreement, shall in no way modify or amend this Guaranty, which shall be continuing, absolute, unconditional
     and irrevocable.

              9. If more than one person has executed the Guaranty, the term "the undersigned," as used herein
     shall refer to each such person, and the liability of each of the undersigned hereunder shall be joint and several
     and primary.

               10. The provisions of the Agreement providing that Arizona law shall govern, and requiring binding
     arbitration in Phoenix, Arizona shall also apply to this Guaranty and each Guarantor.


     Date: SEPTEMBER 12 , 201§                  Name: RUTH MARK
                                                Sign:      dbM
                                                Spouse's Name:_ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                Sign:._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                                                Name: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                Sign:_ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                                                Spouse's Name:_ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                Sign: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




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                                                 ATTACHMENT 4

                       NON-DISCLOSURE AND NON-COMPETITION AGREEMENT

               This Non-Disclosure and Non-Competition Agreement (this "Agreement") is made as of this
     -12- day of SEPTEMBER           , 201§ by and between:
         RUTH MARK                                                                 ("Franchisee"),     an
     Openworks Janitorial Franchisee under the janitorial Franchise Agreement between Franchisee and
     O.P.E.N. America, Inc. ("Open Works") of even date herewith and to which this Agreement was attached
     (the "Franchise Agreement"); and

     the undersigned ("Recipient"), who owns 5% or more of the ownership interests in Franchisee, and/or
     holds or has been offered a position as an employee or consultant of Franchisee (any such current and
     future interest or position held by Recipient is hereinafter referred to as the "Position").

     Recipient acknowledges that Franchisee is entering into this Agreement for itself and for the benefit of
     Openworks pursuant to the requirements of the Franchise Agreement. Any capitalized tenns not
     otherwise defined will have such meaning as ascribed to them in the Franchise Agreement.

                                    BACKGROUND TO THE AGREEMENT

              In connection with their Position, Recipient will have access to, generate, or otherwise come into
     contact with certain proprietary and/or confidential information and trade secrets of Franchisee,
     Openworks or System, including without limitation training materials, programs, methods, techniques,
     specifications, standards, systems, procedures, sales and marketing programs and strategies, manuals,
     financial data, knowledge of specifications for and suppliers of equipment, supplies and services, bidding,
     pricing and billing methods, existing and prospective customer lists and information about them and their
     service contracts, at any time existing or under consideration, for the operation of OpenWorks' regional
     offices and commercial janitorial and other facility service businesses (the "Confidential Information").

            Recipient, Franchisee and OpenWorks desire to prevent the dissemination or misuse of such
     Confidential Information. For these and other reasons, and the fact that there are many other employment
     opportunities available to Recipient if his/her Position shall terminate, Recipient is in full and complete
     agreement that the following restriction covenants are fair and reasonable and are freely, voluntarily and
     knowingly entered into. FURTHER, RECIPIENT HAS BEEN GIVEN THE OPPORTUNITY TO
     CONSULT WITH INDEPENDENT LEGAL COUNSEL BEFORE ENTERING INTO THIS
     AGREEMENT.

                                                  AGREEMENT

             As an inducement to OpenWorks to enter into the Franchise Agreement with Franchisee, or to
     approve a transfer to or appointment of Recipient, and/or in consideration of Recipient's employment or
     continued employment by Franchisee, Recipient and Franchisee (on behalf of both Franchisee and
     Open Works) agree as follows:




                                            ATTACHJMENT 4, PAGE 1
     2622019.2 03/16                                                                INT-Mb              I INT
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               1.      Confidential Information.

                     1.1.     Ownership. Recipient acknowledges that Openworks and/or Franchisee is/are
     the sole owner of all the Confidential Infonnation; that the Confidential Infonnation is being imparted to
     Recipient in trust and confidence and only by reason of Recipient's Position; and that the Confidential
     Information is not generally known to the trade or public and is not known to Recipient except by reason
     of such disclosure. Recipient further acknowledges that Recipient shall acquire no interest in the
     Confidential Information, other than the right to utilize it in connection with the performance of duties
     associated with Recipient's Position. In addition, Recipient acknowledges that the use, duplication or
     disclosure of the Confidential Information except as expressly permitted by this Agreement shall
     constitute an unfair method of competition and that OpenWorks and Franchisee shall suffer irreparable
     injury thereby.

                      1.2.     Work Product. Recipient agrees that all documents, papers, notes and other
     material and work product containing or derived from the Confidential Information or connected with
     Recipient's Position with Franchisee shall be Confidential Information. Recipient agrees that he will have
     no proprietary interest in any work product developed or used by him and arising out of his Position with
     Franchisee. Recipient will, from time to time, as may be requested by Franchisee or OpenWorks, do all
     things which may be necessary to establish or document Franchisee's or OpenWorks' ownership of any
     such work product, including without limitation execution of assignments.

                      1.3.    Confidentiality. All of the Confidential Information and all information and
     knowledge about the System, which is not in the public domain and such other information and material
     as OpenWorks or Franchisee may designate as confidential shall be deemed Confidential Information for
     purposes of this Agreement. Recipient acknowledges that the Confidential Information is disclosed to
     Recipient solely on the condition that Recipient agree, and Recipient hereby does agree, that Recipient:
     (a) will use the Confidential Information in strict accordance with the instructions and directions given by
     Franchisee or Openworks from time to time; (b) will not use the Confidential Information, directly or
     indirectly, in any other business or capacity; (c) will not, at any time, while holding any Position with
     Franchisee or thereafter, in any manner or form, directly or indirectly, disclose, duplicate, license, sell,
     reveal, divulge, publish or communicate the Confidential Information, or any portion thereof, to any
     person or entity other than Franchisee, or authorized employees or consultants of Franchisee or
     OpenWorks who need to have such information in connection with their jobs; (d) will not copy any
     materials containing the Confidential Information, including without limitation the System manuals,
     without Openworks' prior written consent; (e) will observe and implement all reasonable procedures
     imposed from time to time by Openworks and/or Franchisee to prevent the unauthorized use and
     disclosure of the Confidential Information; (f) will keep all System manuals and other written materials
     containing any portion of the Confidential Infonnation in a secure manner and place; and (g) if Recipient
     is legally compelled to disclose any of the Confidential Information, will do so only if Recipient has used
     his or her best efforts to afford OpenWorks and Franchisee the opportunity of obtaining appropriate
     protective orders or other assurances of confidentiality satisfactory to OpenWorks and Franchisee.

                      1.4.    Return of Confidential Material. Upon termination or cessation of his or her
     Position with Franchisee for any reason, Recipient shall immediately (but in any event within five days of
     such termination or cessation) return to Franchisee all copies of any materials containing the Confidential
     Information (whether in original or duplicate form) and all property or equipment belonging to Franchisee
     and Open Works, or either of them, in Recipient's possession, custody or control, including any of such
     items produced or prepared by Recipient. To the maximum extent of the law, OpenWorks reserves the
     right to deduct the cost of unreturned or damaged property, equipment or information from Recipient's
     compensation.



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                                                                                      Unit Janitorial Franchise Agreement




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              2.      Non competition.

                       2.1.    Covenant. Recipient recognizes that (a) the commercial janitorial and other
     facility services business is very competitive; (b) the System is intended to expand to be national in scope;
     (c) Recipient by virtue of his or her Position will have access to the Confidential Information and will
     have close contacts with OpenWorks customers for the purpose of maintaining and further developing the
     business and goodwill of the System; (d) the Position provides Recipient with the attendant ability to
     divert customer trade; and (e) Openworks and Franchisee each have strong legitimate interests in
     obtaining the covenant herein for the protection of the goodwill of the System. Recipient therefore agrees
     that, without the express prior written consent of OpenWorks and Franchisee, which either may withhold
     in its sole and absolute discretion, Recipient shall not, during the Time Period (as defmed below), directly
     or indirectly, whether personally or as an agent, employee, partner, representative, affiliate or in any other
     capacity on behalf of any person or entity, engage in, render services to, provide financing to, or have any
     interest in, in manner whatsoever any Competitive Business (as defined below) located or conducting
     business within the Area (as defined below). It is agreed and understood that the purpose of this covenant
     is not to deprive Recipient of a means of livelihood and will not do so but is rather to protect the goodwill
     and interest of Franchisee, OpenWorks and the System.

                      2.2.    Time Period. For the purposes of Section 2.1 of this Agreement, the term
     "Time Period" shall mean (a) for the period while Recipient holds a Position with Franchisee; and (b)
     after the Recipient no longer holds a Position with Franchisee, for a period of 24 months thereafter;
      provided, however. that in no event shall the Time Period continue beyond the period that this same
     covenant of noncompetition remains in effect for the Franchisee. In the event a court of competent
     jurisdiction determines that 24 months is unenforceable, the Time Period will be 18 months. If a court of
     competent jurisdiction determines that 18 months is unenforceable, the Time Period will be 12 months. If
     a court of competent jurisdiction determines that 12 months is unenforceable, the Time Period will be six
     months.

                     2.3.     Competitive Business. For the purposes of Section 2.1 of this Agreement, the
     term "Competitive Business" shall mean any business providing janitorial services to commercial
     customers or any other services that Franchisee provides or provided to its customers while Recipient
     held a Position with Franchisee.

                    2.4.    ~ - For the purposes of Section 2.1 of this Agreement, the term "Area" shall
     mean (a) the geographical area in which Franchisee services or serviced Open Works customers, and (b) a
     radius of 75 miles from the regional office through which Franchisee conducts or conducted its
     OpenWorlcs business, and (c) a radius of 75 miles from any other OpenWorks regional office operated by
     OpenWorks or any of its master franchisees in the state where Franchisee conducts or conducted its
     OpenWorks business, and (d) a radius of75 miles from any other Open Works regional office operated by
     OpenWorks or any of its master franchisees in any other state.

              3.      No Solicitation.

                     3.1.     Employees. Recipient agrees never to employ or solicit for employment any
     person who is at the time employed by Open Works, Franchisee or any other :franchisee in the OpenWorks
     System, and Recipient agrees not to directly or indirectly induce any such person to leave their
     employment with OpenWorks, Franchisee or any other franchisee in the Open Works System.

                       3.2.     Customers. Recipient agrees that during the time Recipient holds a Position
     with Franchisee, and after Recipient's Position with Franchisee ends, except for solicitations Recipient
     makes on behalf of Franchisee, Recipient will never solicit as a customer for commercial janitorial or
     other facility services: (a) any Open Works customers serviced by Franchisee during the period Recipient
     held a Position with Franchisee, or (b) any other persons or entities who were Openworks customers
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                                                                                       Unit Janitorial Franchise Agreement




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     serviced by others during the period Recipient held a Position with Franchisee. Recipient also agrees that
     after Recipient no longer holds any Position with Franchisee, Recipient will not thereafter solicit as a
     customer for commercial janitorial or other facility services any prospective customers to whom
     Open Works had proposals or bids outstanding at the time Recipient's Position with Franchisee ended.

                     3.3.     Lack of Prior Conflict. Recipient represents and acknowledges that they are not
     bound by any post-employment covenant with a third-party that would restrict the fulfillment of the
     Recipient's Position or the duties Recipient performs on behalf of the Franchisee. To the extent Recipient
     is bound by any such post-employment covenants, Recipient represents and warrants that they have
     provided Franchisee with a copy of the applicable written covenant.

                     3.4.     Notification. During the Time Period, Recipient shall notify any new employer
     or business associate, prior to entering into the employment or business relationship, of the existence of
     this Agreement and will provide such new employer or business associate with a copy of this Agreement.
     Recipient further agrees and authorizes Franchisee and Open Works to notify others, including customers
     of Franchisee or OpenWorks and Recipient's future employers or business associates of Recipient's
     obligations under this Agreement.

                      3.5.    Tolling of Time Periods. The running of the Time Period or any period of time
     specified in Section 2 or Section 3 of this Agreement will be tolled and suspended for any period of time
     in which the Recipient is found by a court of competent jurisdiction to have been in violation of any
     restrictive covenant contained therein. Recipient further agrees that the existence of any claim it may
     have against Franchisee or OpenW arks whether or not arising from this Agreement, shall not constitute a
     defense to the enforcement by Franchisee or Open Works of the covenants contained in this Agreement.

             4.      Modification. The covenants set forth in this Agreement shall each be construed as
     independent of any other covenant or provision of any other agreement. OpenWorks may reduce the
     scope of the obligations under the covenants of this Agreement unilaterally and without the consent of
     any other person or entity, effective upon giving notice thereof to Franchisee and Recipient.

               5.      Remedies.

                      5.1.   Recipient's Acknowledgements. Recipient acknowledges and agrees that in the
     event of the termination of Recipient's Position with Franchisee, Recipient's experience and capabilities
     are such that the Recipient can obtain employment and engage in business activities which are of a
     different or non-competing nature from those of the Position; and that the enforcement of a remedy of
     injunction will not prevent Recipient from earning a reasonable living. Recipient further acknowledges
     and agrees that the covenants contained in this Agreement are necessary for the protection of Franchisee's
     and OpenWorks' legitimate business interests and are reasonable in scope and in content.

                      5.2.    Injunctive Relief. In the event of an actual or threatened breach by Recipient of
     any of the provisions of this Agreement, Franchisee and Open Works, or either of them. or their agents,
     shall immediately be entitled to injunctive relief restraining Recipient from the breach or threatened
     breach without having to show any actual damage. It is specifically agreed that Franchisee and
     Open Works, or either of them, may incur incalculable and irreparable damage from any such violation,
     and that Franchisee and Open Works, or either of them, have no adequate remedy at law and are entitled to
     injunctive relief, without bond, for any such actual or threatened violation. Nothing herein shall be
     construed as prohibiting Franchisee and Open Works, or either of them, from pursuing any other available
     remedies for such breach.

                      5.3.     At-Will Employment. If Recipient is an employee, nothing in this Agreement
     shall affect Recipient's status as an employee at will. Employment of Recipient by the Franchisee may be

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     terminated by either Recipient or Franchisee for any lawful reason at any time with or without cause.
     Any representation to the contrary is unauthorized and not valid.

                     5.4.     Authority to Contract. Unless otherwise specified in writing, Recipient shall
     have no power to, and Recipient shall not, obligate the Franchisee or Openworks in any manner
     whatsoever to any contract, agreement, undertaking, commitment or other obligation, unless specifically
     authorized and directed to do so, in advance and in writing by the Franchisee. Further, Recipient shall
     not, without specific approval of and direction by the Franchisee, borrow on behalf of the Franchisee or
     Open Works, purchase capital equipment, or sell any capital assets of Franchisee or Open Works.

                     5.5.    Enforceability. Franchisee's or Openworks' failure to enforce any provisions
     of this Agreement shall not constitute a waiver of the Franchisee's or OpenWorks' right to pursue any
     prior or subsequent breach, violation or default of the Agreement.

             6.       Survival. The provisions of this Agreement shall survive the expiration or termination of
     any agreement or relationship between Franchisee and Recipient or Open Works and Franchisee for any
     reason, in accordance with the terms hereof and shall be enforceable notwithstanding the existence of any
     claim or cause of action of Recipient against Franchisee and Open Works, or either ofthern, predicated on
     any contract or other basis whatsoever.

             7.       Severability. In the event any term or provision of this Agreement is declared to be
     invalid or unenforceable for any reason, the provision shall be modified to the extent necessary to make it
     enforceable, or if it cannot be so modified, then severed, and the remaining terms of this Agreement shall
     remain in full force and effect, and it is hereby declared the intention of the parties that they would have
     executed the Agreement as so modified.

              8.      ~ - Any notice to be given to Recipient under this Agreement will be sufficient and
     deemed delivered ifit is in writing and delivered to the U.S. Post Office to be sent prepaid by certified or
     registered mail addressed to Recipient at his or her residential address as provided below, or to such other
     residential address as Recipient shall have provided in writing to both Franchisee and OpenWorks.

              9.       General. Except as otherwise expressly stated herein, this Agreement contains the entire
     understanding between the parties with respect to the subjects hereof, and supersedes all prior oral and
     written negotiations and agreements. Except as provided in Section 4 of this Agreement, this Agreement
     may be amended only by an instrument in writing signed by Franchisee and Recipient and approved in
     writing by Open Works. The waiver of any breach or violation of this Agreement shall not be deemed to
     amend this Agreement and shall not constitute a waiver of any other or subsequent breach. Headings are
     for convenience and shall not limit or control interpretation. Words in this Agreement shall be deemed to
     refer to whatever number and gender the context requires. This Agreement shall be governed by the laws
     of the state in which Franchisee's Open Works business is conducted. Any claim or dispute arising out of
     or in connection with this Agreement shall be resolved by arbitration held in the City of Phoenix,
     Arizona, governed by the United States Arbitration Act 9 U.S.C. § 1-16, and conducted by one or more
     independent arbitrators who are experienced in franchise matters and have no past or present relationship
     with any party. This Agreement shall be binding upon and inure to the benefit of the parties hereto and
     their successors and assigns. Open Works shall be a third party beneficiary of this Agreement and entitled
     to enforce it as though Open Works were a signatory.

                                          [Signatures on following page]




                                            ATTACHtv1ENT 4, PAGE 5
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                                                                                      Unit Janitorial Franchise Agreement




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     RECIPIENT:                                                 FRANCHISEE, accepting for itself and for its
                                                                Franchisor, O.P.E.N. America, Inc.:

                                                                 RUTH MARK
                 (Full Legal Name of Recipient)                          (Full Legal Name of Franchisee)




     By: _ _ _ _ _ _ _ _ _ _ _ _ __                             By: _ _ _~ _--·
                                                                             ·- - - -
                              (Signature)                                          (Signature)



                                                                 RI/TH MARK
                       (Name Printed or Typed)                               (Name l'rinted or Typed)
                                                                FRANCHISE OWNER
                            (Position/Title)                                      (Position/Title)
                                                                2360 S. QUEBEC ST. APT 205
                      (Residential Street Address)                          (Residential Street Address)
                                                                 DENVER, CO 80231
                        (City, State, Zip Code)                               (City, State, Zip Code)
                                                                 09/12/2016
                                (Date)                                                (Date)




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                                                ATTACHMENT 5

                                                 TRADEMARKS

             Open Works has the following trademarks that it uses in its janitorial cleaning services. You must
     use the trademarks in accordance with the terms of the Franchise Agreement and the Manual. These
     trademarks may be revised by Open Works in accordance with the Franchise Agreement.




                                             Open Works®

                                     Give your facility the works®

                                             Total Works™

                                              First Works®

                                           Business Works™

                                             Tech Works™

                                             Skill Works™



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                                                          ATTACHMENT 6

                                                        SPOUSAL CONSENT

       The undersigned each being the spouse of a Franchisee (or the spouse of a 5% or greater owner
       of Franchisee) hereby states

                    I.      That he or she has read and understands the Janitorial Franchise
       Agreement and the Franchise Disclosure Document and all exhibits: and

                     2.     That he or she consents to the terms and conditions of the Janitorial
       Franchise Agreement. including but not limited to those concerning transfer. and

                      3.            That he or she consents to execution of the Janitorial Franchise Agreement
       by Franchisee: and

                               4.   That he or she consents to execution of the Personal Guaranty '.r

       Dated: 09/12/2016                      ,   ii       i(_        Signature: /   "
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       Print Name:~V\.."V\ c::t r--v._     ·V\i \!>t 1    lC




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